  Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 1 of 84 PageID #:743



                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ILLINOIS
                         EASTERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
            Plaintiff,                      )
                                            )      No. 95 CR 242
      vs.                                   )      Judge Robert Gettleman
                                            )
ANDREW PATTERSON, et. al                    )
                                            )
            Defendants.                     )

            GOVERNMENT’S RESPONSE TO DEFENDANTS’
             MOTIONS PURSUANT TO 18 U.S.C. § 3582(C)


      THE UNITED STATES OF AMERICA, by its attorney, PATRICK J.

FITZGERALD, United States Attorney for the Northern District of Illinois,

respectfully submits this Response to Defendants’ Motions Pursuant to 18

U.S.C. § 3582(c).    Defendants Durwin Baker, Terry Clark, Willie Conner,

Maurice Foster, Gregory Hubbard, Andrew Patterson, Andrew L. Patterson,

Henry Patterson, Jerry Patterson, Lennell Patterson, Odell Sumrell, Edgar

Williams, Andre Williams, Edgar Williams and Tyrone Williams have each

either filed a pro se motion seeking relief pursuant to 18 U.S.C. § 3582; contacted

the Court by mail indicating a desire for relief pursuant to § 3582, and/or filed,

via counsel, a formal motion pursuant to § 3582. Each of the defendants has

joined in the formal motion filed by counsel for Durwin Baker. As discussed

below, the motions should be denied.
  Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 2 of 84 PageID #:744



      1.    Procedural History

      a)    The Charges and Trial

      These defendants, in addition to others, were charged in a 36-count

superseding indictment with one count of racketeering conspiracy, 18 U.S.C. §

1962(d) (Count One), and one count of narcotics conspiracy, 21 U.S.C. § 846

(Count Two). R.411. Count One alleged a RICO conspiracy to distribute heroin,

cocaine and cocaine base, and to protect their illegal activity by bribing law

enforcement officers. Id. Count Two alleged a conspiracy to distribute cocaine,

crack cocaine and heroin. Id. Many of the defendants were also charged with

individual firearms offenses in Counts Three through Thirty Six pursuant either

to 18 U.S.C. § 924(c) for using and carrying firearms at various times during and

in relation to the narcotics conspiracy, or 18 U.S.C. § 922(g) for possession of

firearms having previously been convicted of a felony. Id.

      These defendants, among others, stood trial jointly, beginning on January

22, 1996 and concluding on June 7, 1996. R.539-1028. At the conclusion of the

trial, the jury found the defendants guilty as follows:

      Durwin Baker - Counts One, Two, and Twenty-Two. R. 1004.

      Terry Clark - Counts Two, Twenty-Three and Twenty-Four. R.1006.

      Willie Conner - Counts Two and Twenty-Five. R. 1008.

      Maurice Foster - Count Two. R. 1014.


                                        2
  Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 3 of 84 PageID #:745



      Gregory Hubbard - Counts One, Two and Twenty-Eight. R. 1016.

      Andrew Patterson - Counts One and Two. R.992.

      Andrew L. Patterson - Count Two. R.998.

      Henry Patterson - Counts One, Two, and Thirteen. R.996.

      Jerry Patterson - Counts One, Two, and Thirty-One. R. 1020.

      Lennell Patterson - Counts One and Two. R. 1022.

      Odell Sumrell - Counts One and Two. R.1026.

      Andre Williams - Counts One, Two, Fifteen through Twenty-One. R.1002

      Edgar Williams - Counts One and Two. R. 1028.

      Tyrone Williams - Count Two. R.1000.

      b)       Sentencing 1

      Though the charged conspiracy involved the distribution of heroin, powder

cocaine and crack cocaine, each defendant’s base offense level was determined

based on the amount of crack cocaine attributable to each defendant. The court

calculated this figure based on factual findings concerning the length of each

defendant’s participation in the conspiracy, and the approximate amount of

crack cocaine distributed by the conspiracy on a regular basis.




      1
          Exhibit A contains a summary chart of the defendants’ sentences.

                                           3
  Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 4 of 84 PageID #:746



      Shortly after the close of the evidence at trial, the court made factual

findings on the duration of each defendant’s participation in the conspiracy.2

The court found as follows for the defendants joining in this motion:

      Durwin Baker - at least December 1991 to February 1992. (GVO at 35.)

      Terry Clark - at least July 1991 to April 1995. (GVO at 35.)

      Willie Conner - at least December 1991 to April 1995. (GVO at 36.)

      Maurice Foster - at least July 1991 to April 1992. (GVO at 37.)

      Gregory Hubbard - at least December 1991 to October 1993. (GVO at 38.)

      Andrew Patterson - at least 1991 to April 1995. (GVO at 28.)

      Andrew L. Patterson - at least October 1991 to April 1995. (GVO at 31.)

      Henry Patterson - July 1991 through April 1995. (GVO at 30.)

      Jerry Patterson - at least July 1991 to April 1995. (GVO at 39.)



      2
         According to the government’s version of the offense, which set forth these
factual findings, this proceeding took place “at the time that special verdicts were
submitted to the jury.” See Government’s Version at 27. The government has reviewed
the trial transcript from the beginning of closing arguments, through the instruction
of the jury and the submission of the verdict forms to the jury , until the announcement
of the jury’s verdicts for each defendant, including sidebars and proceedings out of the
presence of the jury, and has been unable to locate this proceeding in the transcript.
The government has also reviewed the docket sheet from the conclusion of the trial
through December 27, 1996, when the government’s version was prepared, looking for
any hearings on sentencing issues and was unable to find any such entry. The
government consulted with several defense counsel who were unable to recall when the
hearing at issue took place. Therefore, the government is relying on the government’s
version for the court’s factual findings on this issue, and will provide a copy of the
government’s version (hereinafter “GVO”) to the court and to each defendant’s counsel.


                                           4
  Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 5 of 84 PageID #:747



      Lennell Patterson - October 1991 to April 1995. (GVO at 40.)

      Odell Sumrell - at least July 1991 to April 1995. (GVO at 41.)

      Andre Williams - at least July 1991 to February 1992. (GVO at 33.)

      Edgar Williams - at least July 1991 to April 1995. (GVO at 42.)

      Tyrone Williams - at least July 1991 to February 1992. (GVO at 32.)

      On July 10, 1997, the trial court held a joint sentencing hearing, during

which it heard testimony and argument on whether the substance at issue was

indeed crack cocaine within the meaning of the U.S. Sentencing Guidelines. R.

1504.3 Following the hearing, the trial court determined that the government

had proven by a preponderance of the evidence that the substance distributed

by the defendants was crack cocaine. R.1252.

      Thereafter, the trial court held individual sentencing hearings for each of

the defendants wherein it made factual findings concerning the quantity of crack

cocaine attributable to each defendant. At the time these defendants were

sentenced, USSG § 2D1.1(c)(1)(1995)4 provided for a base offense level of 38 in

      3
       The government will provide defense counsel and the Court with a disk
containing the transcript of this hearing as well as transcripts of the individual
sentencing hearings for each of the defendants.
      4
       Unless specified otherwise, all citations to the United States Sentencing
Guidelines will be to the 1995 edition. The PSI for each of these defendants indicates
that the 1995 Guidelines edition was used in calculating each defendants’ applicable
guideline range.



                                          5
  Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 6 of 84 PageID #:748



cases involving, among other things, 30 kilograms or more of heroin, 150

kilograms or more of cocaine, or 1.5 kilograms of cocaine base, which was defined

in USSG § 2D1.1(c) Commentary, Application Note (D), as “crack . . . a form of

cocaine base, usually prepared by processing cocaine hydrochloride and sodium

bicarbonate, and usually appearing in a lumpy, rocklike form.” Id.

      i.     Durwin Baker

      Durwin Baker was sentenced on October 6, 1997 to a term of 195 months

on Counts 1 and 2 of the superseding indictment, to be served concurrently, and

a consecutive term of 60 months on Count 22, a §924(c) charge. R. 1347, 1505-2

at 22. The court initially determined that Baker’s offense level was 38, pursuant

to USSG § 2D1.1(c)(1)(1995), but then reduced his offense level by three points

after determining that Baker was a minimal participant in the offense. R.1505-2

at 17. The court determined that Baker’s total offense level was 35, and his

criminal history category was II, and adopted the factual findings and guideline

application in the presentence investigation report. See Baker SOR.5 Baker’s

PSI noted,

      [t]he testimony of cooperating codefendants has established that the
      Patterson Family Enterprise distributed more that [sic] 150


      5
        Since the Statement of Reasons (“SOR”) is not included with the judgment and
commitment order in the court file, the government has provided each defense counsel
with an electronic copy of the SOR pertaining to his/her defendant, and will provide
copies to the court as well.

                                         6
  Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 7 of 84 PageID #:749



      kilograms of cocaine, cocaine base and large quantities of heroin.
      This amount of crack cocaine was reasonably foreseeable to the
      defendant due to the open and longterm nature of the sales, the
      scope of his participation, knowledge and associations with his
      coconspirators, resulting in a base offense level of 38 under
      guideline 2D1.1(a)(3)(c)(1).

Baker PSI at 12.

      ii.   Terry Clark

      Terry Clark was sentenced on August 7, 1997 to a term of 240 months on

Count 2 of the superseding indictment, and 60 months on Count 23, a §924(c)

charge, to run consecutively to the sentence in Count 2. R.1381 at 56. He

received a 120 month concurrent sentenced on Count 24. R.1381 at 56. The

court determined that Clark’s total offense level was 38 and his criminal history

category was III. Id. at 50-51. The court adopted the factual findings and

guideline application in the presentence report. Clark SOR. The PSI stated that

Clark’s base offense level was 38 “because the Patterson family enterprise

distributed more that [sic] 150 kilograms of cocaine, 1.5 kilograms of cocaine

base and large quantities of heroin.” Clark PSI at 10.

      In determining Clark’s offense level, the court noted,

      I have reviewed this matter very thoroughly, and based on my
      review of all the documents I have mentioned for not only Mr. Clark
      but other defendants as well, the court finds that the government
      has met its burden of proving by a preponderance of the evidence
      that this defendant reasonably foresaw that more than one and a
      half kilograms of crack was distributed during his participation in


                                        7
  Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 8 of 84 PageID #:750



      the conspiracy for which he was convicted. And this is even giving
      him the credit for the time that he was not on the street but in state
      custody. . . . he was part of an organization that distributed huge
      amounts of crack cocaine. That was what he was convicted of in
      Count 2. The evidence showed that this was as much as 500 grams
      a day; three days’ worth would be one and a half kilograms. . . .the
      average, the average bag of the exhibits of drug -- of the crack
      exhibits was .21 grams, and there were 40 packs a day. There were
      60 bags in a pack. That’s 2400 bags a day times .21 is 504 grams a
      day. It is just a simple matter of math . . . And I don’t base it just
      on the math either. I base it on the overwhelming evidence of the
      size of this conspiracy. We had testimony about the number of
      customers who would come. There was some days when they would
      line up up the street. There would be traffic jams there were so
      many customers. . . This was a large operation catering to a large
      number of people selling huge quantities of drugs.

R.1335 at 5-7.

      The court further found,

      So under Guideline 1B1.3A1, a drug conspirator is held accountable
      quantitatively for all drug transactions that he was aware of or that
      he reasonably could have foreseen. Due to the highly organized
      manner in which the drug operation was carried on on the 2700
      block of West Flournoy, the evidence establishes that this defendant
      knew or reasonably foresaw that more than one and a half
      kilograms of crack was being sold during the time he participated
      in the conspiracy. So that will be my ruling on quantity. And I will
      make similar rulings just so there is no secret here, obviously. I will
      being [sic] making similar rulings for the other defendants as well.

R. 1335 at 8-9.

      Clark was subject to a mandatory minimum of twenty years pursuant to

21 U.S.C. § 851, as a result of a prior narcotics conviction. See Clark PSI at 21.




                                        8
  Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 9 of 84 PageID #:751



The government filed a notice of intent to seek statutory enhanced penalties

against Clark on January 17, 1996. See R.517.




                                        9
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 10 of 84 PageID #:752



      iii.   Willie Conner

      Willie Conner was sentenced on October 1, 1997 to a term of imprisonment

of 235 months on Count 2 of the superseding indictment and a consecutive term

of 60 months on Count 25. R.1541 at 10. The court determined that the

defendant's total offense level was 38 and his criminal history category was 1.

R.1541 at 10-11. The court adopted the factual findings and the guideline

application in the presentence report in which the probation office noted that

“the Patterson family enterprise distributed more that [sic] 150 kilograms of

cocaine, cocaine base and large quantities of heroin.” See Conner SOR; Conner

PSI at 9. At Conner’s sentencing, the government noted, as the court considered

whether to allow Conner a two-point reduction for minor participation, “he’s not

being held accountable for the entire amount of drugs distributed by the

organization, only for three days’ worth of narcotics dealing.” R. 1541 at 6.

      iv.    Maurice Foster

      Maurice Foster was sentenced on October 17, 1997 to a term of

imprisonment of 360 months on Count Two of the indictment. R.1520, 1542 at

17. The court determined that Foster’s total offense level was 40 and his

criminal history category was IV. Foster SOR. The court adopted the factual

findings and guideline application in the presentence report. Id. The PSI

indicated that:


                                       10
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 11 of 84 PageID #:753



      The total amount of narcotics sold during the conspiracy was more
      than 150 kilograms of cocaine, cocaine base, and large quantities of
      heroin . . . even though the defendant was not involved for the entire
      duration of the conspiracy, for the time that he was involved, from
      July 1991 until April 1992, the organization distributed a minimum
      of two kilograms of crack cocaine a week. Therefore . . . the amount
      of crack cocaine or cocaine base attributed and foreseeable to the
      defendant is at least 1.5 kilograms.

PSI at 3, 7.

      At Foster’s sentencing hearing, the court stated as follows:

      The court has previously made a finding regarding this that the
      conspiracy distributed at least a half kilogram of crack cocaine per
      day. That means to get to the 1.5 kilogram level, which is the
      maximum under the guidelines, a defendant would only have to be
      involved or it would only need to be reasonably foreseeable to the
      defendant that there were three days of crack cocaine dealing out
      there on the spot on the 2700 block of West Flournoy. Mr. Foster
      was involved for a far lengthier time than three days. Mr. Young
      would like to point to just the days that he’s on tape out there and
      say that Mr. Foster is only involved for a three-week period. That
      in and of itself is sufficient, because obviously three weeks is more
      than three days, but then there is also the testimony of cooperating
      defendant who placed Mr. Foster out there for a significantly longer
      period of time. But the only finding that the Court needs to make
      is that he was involved for at least three days, three days of drug
      dealings is reasonably foreseeable to him. So the 1.5 kilos of cocaine
      as the basis for using the -- to determine the offense level is correct.”

R.1542 at 5.

      Foster was subject to a mandatory minimum of twenty years pursuant to

21 U.S.C. § 851 as a result of a prior narcotics conviction. The government filed




                                         11
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 12 of 84 PageID #:754



a notice of intent to seek statutory enhanced penalties against Foster on January

17, 1996. R.531.




                                       12
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 13 of 84 PageID #:755



      v.    Gregory Hubbard

      Gregory Hubbard was sentenced on December 29, 1997 to a total term of

imprisonment of 295 months consisting of two concurrent 235-month terms on

Counts One and Two of the superseding indictment, and a consecutive 60

months on Count Twenty-Eight, a §924(c) offense.           R.1386,    The court

determined that his total offense level was 38 and his criminal history category

was I. R.1386; Hubbard SOR. The court adopted the factual findings and

guideline application in the presentence report, which noted, “the total amount

of narcotics sold during the conspiracy was more than 150 kilograms of cocaine,

cocaine base, and large quantities of heroin.” Hubbard PSI at 6; Hubbard SOR.

      At Hubbard’s sentencing, the court noted,

      I find that the evidence establishes that members of this conspiracy
      were responsible for their time that the evidence established that
      they were on the street selling, selling at least two kilograms of
      crack cocaine per week at a rate of approximately 500 grams a day.
      . . And certainly, Mr. Hubbard was identified on the tapes and in
      the testimony as being involved in selling the drugs for a sufficient
      time to reach the conclusion that the government suggests.

R.1543-2 at 9.

      vi.   Andrew Patterson

      On January 30, 1998, Andrew Patterson (“Andrew”) was sentenced to two

concurrent life terms on Counts One and Two of the superseding indictment; a

concurrent 120 month term on Count Five, a § 922(g) offense; and a consecutive


                                       13
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 14 of 84 PageID #:756



120 month term on Count Three, a § 924(c) offense. R. 1530 at 23; R. 1639. The

court determined that Andrew’s total offense level was 42, the result of a base

offense level of 38, based on the amount of narcotics attributable to him, and a

four-point enhancement pursuant to USSG § 3B1.1(a), and that his criminal

history category was II. R.1530 at 11, 13. The court adopted the factual findings

and guideline application in the presentence report, which set forth as follows:

“the Patterson family enterprise distributed more than 150 kilograms of cocaine,

more than 1.5 kilograms of cocaine base, and large quantities of heroin.”

Andrew Patterson PSI at 6. During Andrew’s sentencing, the court noted,

      I made findings that the quantities were sufficient enough to reach
      the guideline maximum very quickly, within a couple of days. This
      went on for many, many months and years actually.

R.1530 at 5.

      Andrew was subject to a mandatory minimum of twenty years pursuant

to 21 U.S.C. § 851 as a result of a prior narcotics conviction. The government

filed a notice of intent to seek statutory enhanced penalties against Andrew on

January 17, 1996. R.521.

      vii.   Andrew L. Patterson

      Andrew L. Patterson (“Andrew L.”)was sentenced on August 14, 1997 to

a term of 310 months imprisonment on Count Two of the superseding

indictment. R. 1277. The court determined that his total offense level was 40,


                                       14
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 15 of 84 PageID #:757



as a result of a base offense level of 38 and a two-point enhancement pursuant

to USSG §2D1.1(b)(1) for the possession and use of a firearm during the offense,

and his criminal history category was I. See Andrew L. Patterson PSI at 6;

Andrew L. Patterson SOR. The court adopted the factual findings and guideline

application in the presentence report, with the exception of refusing to apply

enhancements for a supervisory role in the offense. Id.     On the issue of drug

quantity, the PSI noted, “the drug conspiracy . . . involved the sale of more than

150 kilograms of cocaine, cocaine base and large quantities of heroin . . . more

than 1.5 kilograms of cocaine base.” See Andrew L. Patterson PSI at 2,6.

During the sentencing, the court noted,

      I believe the government has met its burden of proving by a
      preponderance of the evidence or otherwise that these defendants
      as well as the others who were convicted of Counts 1 or 2 reasonably
      foresaw that more than one and a half kilograms of crack cocaine
      were distributed during his participation or their participation in
      the conspiracy and that the scope of their agreement covered that
      amount of drugs. Mr. Lennell Patterson was a street seller. And
      Maine Patterson was allegedly at least a supervisor and obviously
      intimately involved in the conspiracy and in the drug operation.
      The average bag was.21 grams according to the testimony I heard,
      and there was nothing to the contrary. It’s 60 bags in a pack and 40
      packs a day. That was over 500 grams in a day. All you have to do
      is have three days worth of involvement in this operation, and
      you’ve got more than one and a half kilos of crack. Under 1B1.3, a
      conspirator is held accountable quantitatively for all of the drug
      transactions that he was aware of or could reasonably foresee. I just
      think the overwhelming proof in this case was that the drug
      operation on the 2700 block of West Flournoy dealt with far more
      than that amount in any given period of time.


                                       15
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 16 of 84 PageID #:758



R.1508 at 35-37.

      viii. Henry Patterson

      Henry Patterson (“Henry”) was sentenced on August 12, 1997, to a term

of imprisonment of concurrent 340-month terms on Counts One and Two of the

superseding indictment, and a consecutive 60 months on Count Thirteen, a

§924(c) offense, following a determination that his total offense level was 41 and

his criminal history category was I. R. 1276; H.Patterson transcript at 19. The

court determined that Henry’s base offense level was 38 and increased the base

offense level by three points pursuant to USSG § 3B1.1(b) as a result of his

supervisory role in the offense. See H.Patterson PSI at6; H.Patterson transcript

at 18-20. The court adopted the factual findings and guideline application in the

presentence report, which noted, “the Patterson family enterprise distributed

more than 150 kilograms of cocaine, more than 1.5 kilograms of cocaine base,

and large quantities of heroin.” H.Patterson PSI at 6; H.Patterson SOR. During

Henry’s sentencing, the court stated, “the evidence is quite clear that huge

quantities of crack were being distributed on the street. Under my calculations,

it was over 500 grams a day. That’s a lot of crack. It certainly was enough to

satisfy the quantity requirement under both the guidelines and the statute.”

H.Patterson transcript at 17.




                                       16
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 17 of 84 PageID #:759



      ix.    Jerry Patterson

      Jerry Patterson (“Jerry”) was sentenced on September 22, 1997 to two

concurrent 240-month terms on Counts One and Two of the superseding

indictment, also concurrent with three state court sentences, and a consecutive

60 month term on Count Thirty-One, a § 924(c) charge. R. 1318; R.1505-1 at 11.

The court found his total offense level was 38 and his criminal history category

was I. R.1505-1 at 4. The court adopted the factual findings and guideline

application in the presentence report, which stated,         “the total amount of

narcotics sold during the conspiracy was more than 150 kilograms of cocaine,

cocaine base, and large quantities of heroin . . . . the distribution of at least 1.5

kilogram of cocaine base (crack cocaine was foreseeable to, and is attributed to

the defendant and his codefendants.” See Jerry Patterson SOR; Jerry Patterson

PSI at 3, 6. During the sentencing, Jerry accepted the factual recitation in the

PSI. R.1505-1 at 5.

      x.     Lennell Patterson

      On August 14, 1997, Lennell Patterson (“Lennell”) was sentenced to life

in prison.    R.1278.    He was subject to a mandatory minimum of life

imprisonment pursuant to 21 U.S.C. § 851, as a result of prior narcotics

convictions: the government had filed a notice of intent to seek statutory

enhanced penalties against him on January 17, 1996. R.529. Lennell appealed


                                         17
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 18 of 84 PageID #:760



his August 14, 1997 sentence on August 18, 1997. R.1284. While his appeal was

pending, the parties jointly moved to resentence him pursuant to the applicable

sentencing guidelines after the government decided to rescind the § 851 notices

seeking life sentences in the cases of several of Lennell’s codefendants. R.1466.

The court granted the motion. R. 1468.

      Lennell was resentenced on October 20, 1997, to two concurrent

210-month terms on Counts One and Two of the superseding indictment,

following a determination that his total offense level was 37 and his criminal

history category was I. R. 1348; Lennell Patterson SOR. The court adopted the

factual findings and guideline application in the presentence report, which

stated, “the drug conspiracy . . . involved the sale of more than 150 kilograms

of cocaine, cocaine base and large quantities of heroin . . . the Patterson family

enterprise distributed more that [sic] 150 kilograms of cocaine and large

quantities of heroin.”   Lennell Patterson PSI at 6, 9; Lennell Patterson SOR.

Lennell was sentenced jointly with Andrew L. Patterson: the court’s comments,

mentioning both defendants by name, appear in the “Andrew L. Patterson”

section above. R.1508 at 36-37.

      xi.   Odell Sumrell

      Odell Sumrell was initially sentence to a life term of imprisonment on

December 19, 1997. R.1384. He was subject to a mandatory minimum of life


                                       18
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 19 of 84 PageID #:761



imprisonment pursuant to 21 U.S.C. § 851 as a result of prior narcotics

convictions. The government filed a notice of intent to seek statutory enhanced

penalties against him on January 17, 1996. R.528. Sumrell appealed his

sentence on December 23, 1997. R.1382. While his appeal was pending, the

parties jointly moved to resentence him pursuant to the applicable sentencing

guidelines after the government decided to rescind the § 851 notices seeking life

sentences in the cases of several of his codefendants. R.1466. The court granted

the motion. R. 1468.

      Sumrell was resentenced on August 6, 1998 to concurrent 360-month

terms on Counts One and Two of the superseding indictment. R.1512 at 17.

The court found that he had a total offense level of 40 and a criminal history

category of III.   R.1512 at 17.   The court adopted the factual findings and

guideline application in the presentence report, which stated “the Patterson

family enterprise distributed more than 150 kilograms of cocaine, more than 1.5

kilograms of cocaine base, and large quantities of heroin.” Sumrell PSI at 6.

      During Sumrell’s sentencing, the court noted,

      Just for the record, there was overwhelming evidence that the
      quantities here exceeded the cap within a matter of days, and all
      you had to do was participate in this conspiracy for a matter of days
      to basically fit that conclusion. So I have ruled that way in each of
      the defendants and I have seen no reason with Mr. Sumrell to
      change that.



                                       19
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 20 of 84 PageID #:762



R.1512 at 11-12.




                                       20
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 21 of 84 PageID #:763



      xii.   Andre Williams

      Andre Williams (“Andre”) was sentenced on April 10, 1998, to two

concurrent 360-month terms on Counts One and Two of the superseding

indictment6 ; two concurrent 120-month terms on Counts Sixteen through

Twenty-One, both § 922(g) charges; and a consecutive 120 months on Count

Fifteen, a § 924(c) charge. R.1443. The court determined that his total offense

level was 41 and his criminal history category was VI. A.Williams SOR. The

court adopted the factual findings and guideline application in the presentence

report, which stated, “the total amount of narcotics sold during the conspiracy

was more than 150 kilograms of cocaine, cocaine base and large quantities of

heroin.” A.Williams PSI at 2; A.Williams SOR. Andre’s total offense level of 41

was the result of a base offense level of 38 and a three level enhancement for a

leadership role pursuant to USSG § 3B1.1(b). A.Williams PSI at 6.            Andre’s

criminal history category of VI was the result of the operation of the career

offender guideline, USSG § 4B1.1(a). See A. Williams PSI at 8, 10.




      6
       The government initially sought a life sentence pursuant to 21 U.S.C. §851, but
then rescinded the §851 notice and sought a guidelines sentence. See A.Williams PSI
at 15; A.Williams Tr. at 2,9-10; R. 524, 1434, 1439.

                                         21
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 22 of 84 PageID #:764



      xiii. Edgar Williams

      Edgar Williams (“Edgar”)was sentenced on May 14, 1998 to two concurrent

235-month terms on Counts One and Two of the superseding indictment.7

R.1458. The court determined that his total offense level was 38 and his

criminal history category was I. E.Williams SOR. The government agreed to a

reduction pursuant to USSG § 5C1.2 which enabled the court to sentence Edgar

below the 20-year mandatory minimum otherwise applicable to him. R.1532 at

15. Edgar’s judgment and commitment order does not reflect whether the court

adopted the factual findings and guideline application in the presentence report.

See E.Williams SOR. However, during Edgar’s sentencing, the court declined

to consider sentencing arguments concerning the firearms charge against Edgar,

and th 100-to-1 crack cocaine disparity, stating, “I’ve ruled on that with other .

. . defendants and those rulings will stand. The quantity rulings will stand.

The gun rulings will stand . . .it took only a couple of days of this operation to

max out on the quantities." R.1515 at 3.




      7
       The government initially sought a life sentence pursuant to 21 U.S.C. §851, but
then rescinded the §851 notice and sought a guidelines sentence. See R. 524, 1434,
1439.

                                         22
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 23 of 84 PageID #:765



      xiv. Tyrone Williams

      Tyrone Williams (“Tyrone”) was sentenced on April 10, 1998 to a term of

life imprisonment on Count Two of the superseding indictment.8 R.1441. The

court determined that his total offense level was 43, as a result of a base offense

level of 38, a three level enhancement for leadership pursuant to USSG § 3B1.1,

and a two point enhancement for the use of a firearm pursuant to USSG

§2D1.1(b)(1); and further determined that his criminal history category was VI

as a result of the operation of the career offender guideline, USSG §4B1.1(a).

R.1531 at 6; T.Williams PSI at 5-6. The Court adopted the factual findings and

guideline application in the presentence report, which stated, “[t]he total amount

of narcotics sold during the conspiracy was more than 150 kilograms of cocaine,

cocaine base and large quantities of heroin.” See T.Williams SOR; T.Williams

PSI at 2-3.

      On remand from the Seventh Circuit following appeal, the Court later

amended Tyrone’s sentence to 360 months imprisonment. R.1640. The Court

recalculated Tyrone Williams’ total offense level at 41 by striking               the

enhancement for the use of a firearm pursuant to USSG §2D1.1(b)(1). VI. See

T.Williams SOR. His criminal history category of VI did not change on remand.


      8
       The government initially sought a life sentence pursuant to 21 U.S.C. §851, but
then rescinded the §851 notice and sought a guidelines sentence instead. R.526, 1435,
1440. However, pursuant to the guidelines, Tyrone still received a life sentence.

                                         23
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 24 of 84 PageID #:766



      c) Appeals

      All of the defendants involved in the current motions appealed the jury's

verdicts: the appellate court affirmed the convictions (but remanded Tyrone

Williams’ case for resentencing) in an opinion issued a few weeks before the

Supreme Court's decision in Apprendi v. New Jersey, 530 U.S. 466 (2000). See

United States v. Patterson, et. al., 215 F.3d 776 (7th Cir. 2000).

      The defendants then filed a petition for certiorari before the Supreme

Court. Shortly thereafter and in light of the Apprendi decision, the Supreme

Court instructed the Seventh Circuit to reconsider sentencing issues pertaining

to Andrew Patterson, Henry Patterson, Andrew L. Patterson, Tyrone Williams,

Maurice Foster, and Odell Sumrell, while denying certiorari regarding the cases

of Durwin Baker, Terry Clark, Willie Connor, Gregory Hubbard, Jerry

Patterson, Lennell Patterson, Andre Williams, and Edgar Williams. Patterson

v. United States, 121 S.Ct.621 (2000).

      On remand, the Seventh Circuit again affirmed the convictions of Andrew

Patterson, Henry Patterson, Andrew L. Patterson, Tyrone Williams, Maurice

Foster, and Odell Sumrell, as well as the sentences of all of these defendants

except Tyrone Williams, whose case was remanded to the trial court for

resentencing as a result of the operation of USSG § 2D1.1(b)(1), a two level

enhancement for the use of a firearm during the narcotics offense, in Tyrone


                                         24
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 25 of 84 PageID #:767



Williams’ particular situation.9 United States v. Patterson, 241 F.3d 912 (7th

Cir. 2001).

      On October 1, 2001, the Supreme Court denied the petition for certiorari

brought by several of the defendants concerning the Seventh Circuit’s decision

on remand. Patterson v. United States, 122 S.Ct. 124, 151 L.Ed.2d 79, 70 USLW

3237 (Oct 01, 2001).

      2.      The Guidelines Amendment

      a.      Amendment 706

      On November 1, 2007, the United States Sentencing Commission modified

the drug quantity thresholds in the drug quantity table appearing at USSG §

2D1.1(c) by adjusting sentences for crack cocaine offenses downward by two

levels. See USSG Supplement to Appendix C, Amend. 706; cf. USSG § 2D1.1(c)

(2006), USSG § 2D1.1(c)(2007). The Commission viewed the amendment “as an

interim solution to some of the problems associated with the 100-to-1 drug

quantity ratio” between penalties for crack cocaine and those for powder cocaine

by assigning “base offense levels that provide guideline ranges that include the


      9
        Tyrone Williams was acquitted of firearms charges against him but convicted
of the conspiracy in Count Two. Had he been convicted of the firearms charge, his final
sentencing range would have been 420 months to life . United States v. Patterson, et.
al., 215 F.3d 776, 786 (7th Cir. 2000). However, though acquitted of the firearms
charge, Williams incurred two additional points in his guideline range due to the
operation of USSG § 2D1.1(g)(1), resulting in a higher sentence (life) would have
received had he been convicted of the firearms charge. Id.

                                          25
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 26 of 84 PageID #:768



statutory mandatory minimum penalties for crack cocaine offenses” that would

“result in a reduction in the estimated average sentence of all crack cocaine

offenses.” USSG Supplement to Appendix C, Amend. 706.

      Previously, the Commission had set the crack offense levels in Section

2D1.1 above the range which included the mandatory minimum sentence.

Under the amendment, the Commission has set the offense levels so that the

resulting guideline range includes the mandatory minimum penalty triggered

by that amount, and then set corresponding offense levels for quantities which

fall below, between, or above quantities which trigger statutory mandatory

minimum penalties. For example, a trafficking offense involving five grams of

crack cocaine requires a statutory mandatory minimum sentence of five years

imprisonment. See 21 U.S.C. § 841(b)(1)(B). Therefore, the revised guideline

applies an offense level of 24 to a quantity of cocaine base ("crack") of at least

five grams but less than 20 grams; at criminal history category I, this level

produces a range of 51-63 months (encompassing the 60-month mandatory

minimum).

      The defendants joining in this motion were all sentenced pursuant to

USSG § 2D1.1(c)(1)(1995), which, at the time of sentencing, provided for a base

offense level of 38 for offenses involving, among other things, 1.5 kilograms or

more of cocaine base.        Pursuant to the current guideline, USSG §


                                       26
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 27 of 84 PageID #:769



2D1.1(c)(1)(2007) provides for a base offense level of 38 for offenses involving,

among other things, 4.5 kilograms or more of cocaine base. The other drug types

and quantities set forth in § 2D1.1(c)(1) remain unchanged.             Cf. USSG §

2D1.1(c)(1)(1995); USSG § 2D1.1(c)(1)(2007). The current base offense level

associated with 1.5 kilograms of cocaine base is level 36.             See USSG §

2D1.1(c)(2)(2007).

      18 U.S.C. § Section 3582(c)(2) provides for the retroactive application of

guideline amendments in certain cases:

      [I]n the case of a defendant who has been sentenced to a term of
      imprisonment based on a sentencing range that has subsequently
      been lowered by the Sentencing Commission pursuant to 28 U.S.C.
      994(o), upon motion of the defendant or the Director of the Bureau
      of Prisons, or on its own motion, the court may reduce the term of
      imprisonment, after considering the factors set forth in section
      3553(a) to the extent that they are applicable, if such a reduction is
      consistent with applicable policy statements issued by the
      Sentencing Commission.

18 U.S.C. § Section 3582(c)(2).

      In Section 1B1.10 of the Guidelines, the Sentencing Commission has

identified the amendments which may be applied retroactively pursuant to this

authority, and articulated the proper procedure for implementing the

amendment in a concluded case.10 On December 11, 2007, the Commission


      10
       Section 1B1.10 is based on 18 U.S.C. § 3582(c)(2). It also implements 28 U.S.C.
§ 994(u), which provides: “If the Commission reduces the term of imprisonment
recommended in the guidelines applicable to a particular offense or category of

                                         27
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 28 of 84 PageID #:770



issued a revised version of Section 1B1.10, which emphasizes the limited nature

of relief available under 18 U.S.C. § 3582(c). Revised Section 1B1.10(a), which

became effective on March 3, 2008, provides, in relevant part:

      (1)   In General.—In a case in which a defendant is serving a term
      of imprisonment, and the guideline range applicable to that
      defendant has subsequently been lowered as a result of an
      amendment to the Guidelines Manual listed in subsection (c) below,
      the court may reduce the defendant's term of imprisonment as
      provided by 18 U.S.C. § 3582(c)(2). As required by 18 U.S.C. §
      3582(c)(2), any such reduction in the defendant's term of
      imprisonment shall be consistent with this policy statement.

      (2)   Exclusions.—A reduction in the defendant's term of
      imprisonment is not consistent with this policy statement and
      therefore is not authorized under 18 U.S.C. § 3582(c)(2) if—

            (A) none of the amendments listed in subsection (c) is
            applicable to the defendant; or

            (B) an amendment listed in subsection (c) does not
            have the effect of lowering the defendant's applicable
            guideline range.

      (3)   Limitation.—Consistent with subsection (b), proceedings
      under 18 U.S.C. § 3582(c)(2) and this policy statement do not
      constitute a full resentencing of the defendant.




offenses, it shall specify in what circumstances and by what amount the sentences of
prisoners serving terms of imprisonment for the offense may be reduced.” A guideline
amendment may be applied retroactively only when expressly listed in Section
1B1.10(c). Ebbole v. United States, 8 F.3d 530, 539 (7th Cir. 1993).

                                        28
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 29 of 84 PageID #:771



      On December 11, 2007, the Commission added Amendment 706 to the list

of amendments stated in Section 1B1.10(c) which may be applied retroactively,

effective March 3, 2008.

      b.       The defendants are not eligible for relief
               pursuant to Amendment 706.

      The defendants joining in this motion are not eligible for relief pursuant

to Amendment 706 for a variety of reasons, including mandatory minimum

sentences, career offender status, and the sheer volume of narcotics at issue in

this case.

               i.     Terry Clark is subject to a twenty-
                      year mandatory minimum.

      As stated above, Terry Clark was sentenced to a term of imprisonment of

240 months (followed by a 60-month consecutive sentence on a firearms charge)

after his base offense level was determined to be level 38. R.1381 at 50-51, 56.

Since Clark was subject to and received a mandatory minimum of twenty years

pursuant to 21 U.S.C. § 851 as a result of a prior narcotics conviction,11 he is not

eligible for a sentence reduction pursuant to Amendment 706.

      The Sentencing Commission has not altered and cannot alter a statutory

mandatory minimum sentence, and thus the statutory minimum applicable to

Clark continues to apply. United States v. Neal, 46 F.3d 1405, 1411 (7th Cir.


      11
           See R.517, Clark PSI at 21.

                                         29
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 30 of 84 PageID #:772



1995) (en banc) (holding that retroactive amendment "did not (and, in our view,

could not) trump the statutory mandatory provisions"), aff'd, 516 U.S. 284

(1996); see also § 1B1.10 appl. n. 1(A) (affirming that "a reduction in the

defendant's term of imprisonment is not authorized under 18 U.S.C. § 3582(c)

and is not consistent with this policy statement if . . . an amendment does not

have the effect of lowering the defendant's applicable guideline range because

of the operation of . . . another statutory provision (e.g., a statutory mandatory

minimum term of imprisonment.") (emphasis added). Accordingly, as courts

have consistently recognized, where a statutory mandatory minimum sentence

is applicable, the passage of a retroactive Guidelines amendment does not

provide authority to alter that mandatory minimum sentence. Neal, 46 F.3d at

1411; United States v. Torres, 2004 WL 2038660, at *2 (N.D. Ill. Sept. 7, 2004)

(Zagel, J.). Therefore, the motion should be denied as to Terry Clark.

            ii.   Tyrone and Andre Williams’ guideline
                  ranges would not change.

      As discussed above, both Tyrone and Andre Williams were sentenced

pursuant to the career offender guideline, USSG § 4B1.1(a). See R.1531 at 6,

T.Williams PSI at 5-6; A. Williams PSI at 8, 10, A.Williams SOR. If Andre and

Tyrone Williams were sentenced pursuant to the current guidelines, Amendment




                                       30
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 31 of 84 PageID #:773



706 would not lower their guideline range, and therefore both are excluded from

relief under the amendment.

      USSG § 1B1.10(a)(2)(B) specifically states that “[a] reduction in the

defendant's term of imprisonment is not consistent with this policy statement

and therefore is not authorized under 18 U.S.C. § 3582(c)(2) if . . . an amendment

listed in subsection (c) does not have the effect of lowering the defendant's

applicable guideline range.” If the amendment were applicable to them, both

Tyrone and Andre Williams would nonetheless be subject to a guideline range

of 360 to life, the same range pursuant to which they were sentenced.

      At their respective sentencings, both Andre and Tyrone Williams received

sentences of 360 months, the low end of the range of 360 to life applicable to

Level 41, Criminal History Category VI. R.1443, 1441. The court found that

both Andre and Tyrone Williams’ base offense levels were 38 as a result of the

attribution of at least 1.5 kilograms of crack cocaine to each. See A.Williams PSI

at 6; T.Williams PSI at 5-6, R.1531 at 6. Both were career offenders as a result

of two prior narcotics convictions, and therefore both had criminal history

categories of VI. A.Williams PSI at 6, 8-10; T.Williams PSI at 7-8; USSG §

4B1.1(b).

      Had the offense level pertaining to the offense of conviction in this case

been 36 pursuant to the amended USSG § 2D1.1(c)(2)(2007), then the base


                                       31
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 32 of 84 PageID #:774



offense level for both Andre and Tyrone Williams would have been 37 by

operation of USSG § 4B1.1(b)(A), which provides for an offense level of 37 in

cases where the offense statutory maximum is life,12 unless the offense level

pertaining to the offense of conviction is greater.       Both received upward

adjustments of three points pursuant to USSG § 3B1.1(b)as a result of

leadership roles. See A.Williams PSI at 6; T. Williams PSI at 5-6. This would

increase both of their total offense levels to level 40. Level 40, Criminal History

Category VI has a range of 360 to life, the same range set forth in Level 41,

Criminal History Category VI.

      Therefore, pursuant to USSG § 1B1.10(a)(2)(B), neither Andre nor Tyrone

Williams are entitled to relief pursuant to the amendment since their guideline

range would remain the same. See United States v. Hickey, 280 F.3d 65, 69 (1st

Cir. 2002) (reversing grant of § 3582(c)(2) reduction where amendment affected

only a specific offense characteristic but defendant was sentenced as a career

offender).   Section 1B1.10 directs: "the court shall substitute only the

amendments listed in subsection (c) for the corresponding guideline provisions

that were applied when the defendant was sentenced and shall leave all other

guideline application decisions unaffected." U.S.S.G. § 1B1.10(b)(1).



      12
       The offense statutory maximum for a violation of 21 U.S.C. § 846 is life
imprisonment.

                                        32
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 33 of 84 PageID #:775



      Courts agree that where, as is the case here, application of the pertinent

amendment does not result in a different sentencing range, no reduction of

sentence may occur. See, e.g., United States v. Hickey, 280 F.3d 65, 69 (1st Cir.

2002) (reversing grant of § 3582(c)(2) reduction where amendment affected only

a specific offense characteristic but defendant was sentenced as a career

offender); United States v. Gonzalez-Balderas, 105 F.3d 981, 984 (5th Cir. 1997)

(although a retroactive amendment reduced the defendant's offense level, the

new level (44) still required the sentence of life imprisonment which was

imposed, and the district court properly denied the motion summarily); United

States v. Allison, 63 F.3d 350, 352-54 (5th Cir. 1995) (motion properly denied

where the sentence would not be different under new guideline); United States

v. Townsend, 98 F.3d 510, 513 (9th Cir. 1996) (although a retroactive

amendment to the career offender guideline changed the definition of a statutory

maximum, the amendment did not benefit the defendant given that the

maximum penalty for his offense, bank robbery, was the same under either

definition, and thus the guideline range was the same); United States v.

Dorrough, 84 F.3d 1309, 1311-12 (10th Cir. 1996) (the district court did not

abuse its discretion in denying the § 3582(c)(2) motion, where an alternative

means of sentencing permitted by the applicable guideline produced the same

offense level which applied earlier); United States v. Armstrong, 347 F.3d 905,

                                       33
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 34 of 84 PageID #:776



908 (11th Cir. 2003) (the district court correctly denied the motion, where the

defendant's offense level was not altered by the subject of the retroactive

amendment); United States v. Young, 247 F.3d 1247, 1251-53 (D.C. Cir. 2001)

(district court properly denied motion where the sentence was actually based on

considerations not affected by the retroactive guideline amendment). This

limitation is a straightforward application of the statutory text: Section 3582(c)

only applies to defendants who were "sentenced to a term of imprisonment based

on a sentencing range that has subsequently been lowered" by a retroactive

amendment. § 3582(c)(2).

            iii.   The court’s previous sentencing
                   findings attribute more than 4.5 grams
                   of crack to each of the defendants.

      As stated above, pursuant to USSG § 1B1.10(a)(2)(B), “[a] reduction in the

defendant's term of imprisonment is not consistent with this policy statement

and therefore is not authorized under 18 U.S.C. § 3582(c)(2) if . . . an amendment

listed in subsection (c) does not have the effect of lowering the defendant's

applicable guideline range.”       Pursuant to Amendment 706, USSG §

2D1.1(c)(1)(2007) assigns a base offense level of 38 when 4.5 kilograms or more

of crack cocaine can be attributed to a defendant. In making its factual findings

in this case, the trial court made it clear that each of these defendants was

responsible for much more than 1.5 kilograms of crack cocaine. The court’s


                                       34
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 35 of 84 PageID #:777



factual findings for each of these defendants’ sentencings supports a base offense

level of 38 pursuant to the current guidelines. Therefore, the defendants’

applicable guideline ranges would not change and the amendment offers them

no relief.

      As discussed above, the court repeatedly found that the conspiracy

distributed approximately 500 grams of crack cocaine a day. R.1335 at 5;

R.1542 at 5; R.1543-2 at 9; R.1508 at 36. The court also repeatedly noted that

only three days’ worth of participation in the conspiracy was enough to reach the

1.5 kilograms necessary to warrant a base offense level of 38 pursuant to USSG

§ 2D1.1(c)(1995). R.1335 at 5 (“three days’ worth would be one and a half

kilograms”); R.1542 at 5 (“to get to the 1.5 kilogram level, which is the maximum

under the guidelines, a defendant would only have to be involve or it would only

need to be reasonably foreseeable to the defendant that there were three days

of crack cocaine dealing our there ”); R.1530 at 5 (“I made findings that the

quantities were sufficient enough to reach the guidelines maximum very quickly,

within a couple of days. This went on for many, many months and years

actually.”); R.1508 at 35-37 (“all you have to do is have three days worth of

involvement in this operation and you’ve got more than one and a half kilos of

crack.”); R.1515 at 6 (“it took only a couple of days of this operation to max out

on the quantities").


                                       35
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 36 of 84 PageID #:778



         Further, the court found that each of these defendants had participated

in the conspiracy for much more than the three days necessary to trigger the 1.5

kilograms of crack cocaine necessary to warrant a level 38 pursuant to USSG §

2D1.1(c)(1)(1995) and for much more than the nine days that would be necessary

to trigger the 4.5 kilograms of crack cocaine necessary to warrant a level 38

pursuant to the amended guideline, USSG § 2D1.1(c)(1)(2007). Even Durwin

Baker, to whom the court attributed the short period of participation of all the

defendants, from December 1991 to February 1992, well exceeded the nine day

period necessary to attribute 4.5 kilograms of crack cocaine to him. See GVO

at 35.

         Moreover, the heroin and powder cocaine sold by the conspiracy was not

taken into account in the initial guidelines calculations, though in every instance

except one13, the court adopted the factual findings in the defendants’

presentence investigation reports, each of which noted (in essence but not

necessarily verbatim) that the conspiracy sold more than 150 kilograms of



         13
         Edgar Williams’ SOR does not indicate whether the court adopted the factual
findings and guideline applications set forth in the presentence investigation report.
However, during Edgar’s sentencing, the court stated, “I’ve ruled on that with other
defendants, and those rulings will stand. The quantity rulings will stand. The gun
rulings will stand . . .it took only a couple of days of this operation to max out on the
quantities.” R.1515 at 3,6. Given the court’s statement that it would not disturb the
rulings made in the codefendants’ sentencings, the government therefore believes that
the failure to check the appropriate box on the SOR was a clerical error.

                                           36
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 37 of 84 PageID #:779



powder cocaine, 1.5 kilograms of cocaine base and large quantities of heroin. See

Baker PSI at 12, Clark PSI at 10, Conner PSI at 9, Foster PSI at 7,Hubbard PSI

at 6, Andrew Patterson       PSI at 6, Andrew L. Patterson PSI at 6, Henry

Patterson PSI at 6, Jerry Patterson PSI at 6, Lennell Patterson PSI at 9,

Sumrell PSI at 6, Andre Williams PSI at 2, Tyrone Williams PSI at 2. Given the

huge amount of crack cocaine attributable to the defendants and the crack

cocaine guidelines in effect at the time of sentencing, it is understandable that

these additional narcotics were not taken into account during the original

sentencings. However, even if the court’s original factual findings did not

support a finding of at least 4.5 kilograms of crack cocaine and therefore a base

offense level of 38 under the current guidelines, then the additional of the

powder cocaine and heroin into the guidelines calculations surely would indicate

a base offense level of at least 38. In fact, for all but five of the defendants

(Baker, Foster, Hubbard, Andre Williams and Tyrone Williams, who were found

to have been in the conspiracy for less than three years), the 150 kilograms of

powder cocaine noted in the defendants’ PSI and adopted as a factual finding by

the court would in and of itself be sufficient to trigger a base offense level of 38

independent of any crack cocaine. under the original guidelines or under the

amended guidelines. Cf. USSG § 2D1.1(c)(1)(1995), USSG § 2D1.1(c)(1)(2007).




                                        37
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 38 of 84 PageID #:780



      The defendants’ motions should therefore be denied, based on the court’s

original factual findings on the nature and quantity of narcotics attributable to

each of the defendants.




                                       38
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 39 of 84 PageID #:781



      c.    Any resentencing should be limited to the
            reduction provided in Amendment 706.

      Several of the defendants, in conjunction with their motion for relief

pursuant to Amendment 706, seek to revisit other sentencing issues.

Specifically, Tyrone Williams asks the court to revisit the calculation of his

criminal history category and his status as a career offender; Edgar Williams

asks the court to resolve a dispute involving the Bureau of Prisons’

determination of credit for time served; Andre Williams asks the court to

reconsider guidelines issues concerning enhancements for the use of firearms

and for his role in the offense; and Foster seeks to relitigate his criminal history

category. These defendants may not use Section 3582(c)(2) in the context of this

motion to relitigate sentencing issues unrelated to Amendment 706.

      The Sentencing Reform Act generally prohibits modifying a final term of

imprisonment, except for the limited circumstances that are specifically

authorized by statute. United States v. Smith, 438 F.3d 796, 799 (7th Cir. 2006)

(quoting § 3582(c): “The court may not modify a term of imprisonment” except

for few exceptions). The interest in finality of criminal sentences is significant.

See Teague v. Lane, 489 U.S. 288, 308-10 (1989) (“Without finality, the criminal

law is deprived of much of its deterrent effect.”). A federal criminal sentence is

generally final following a direct appeal, and modification is permitted by law



                                        39
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 40 of 84 PageID #:782



only in very circumscribed situations. Thus, the power afforded in Section

3582(c)(2) is limited, and that limit must be respected. Cf. Braxton v. United

States, 500 U.S. 344, 348 (1991) (“In addition to the duty to review and revise the

Guidelines, Congress has granted the Commission the unusual explicit power to

decide whether and to what extent its amendments reducing sentences will be

given retroactive effect, 28 U.S.C. § 994(u). This power has been implemented

in Section 1B1.10, which sets forth the amendments that justify sentence

reduction.”) (emphasis in original).

      Section 3582(c)(2) permits a sentencing court to reduce a defendant’s

sentence only when “such a reduction is consistent with the applicable policy

statements issued by the Sentencing Commission.” In its recently revised policy

statements, the Sentencing Commission made clear that proceedings under

Section 1B1.10 and Section 3582(c)(2) “do not constitute a full resentencing of

the defendant.” Furthermore, in Section 1B1.10(b)(1), the policy statement

explicitly directs that “[i]n determining whether, and to what extent, a reduction

in the defendant’s term of imprisonment under 18 U.S.C. § 3582(c)(2) and this

policy statement is warranted, the court . . . shall substitute only the

amendments listed in subsection (c) for the corresponding guideline provisions

that were applied when the defendant was sentenced and shall leave all other




                                        40
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 41 of 84 PageID #:783



guideline application decisions unaffected” (emphasis added). The limitation

imposed by the Sentencing Commission must be respected.

      Indeed, in the context of affirming a § 3582(c)(2) re-sentencing without the

appointment of counsel or even the defendant’s presence, the Seventh Circuit

held that “a proceeding under 18 U.S.C. § 3582(c) is not a do-over of an original

sentencing proceeding where a defendant is cloaked in rights mandated by

statutory law and the Constitution.” United States v. Tidwell, 178 F.3d 946, 949

(7th Cir. 1999) (emphasis added). Similarly, the Eleventh Circuit has held that

Section 3582(c)(2) “do[es] not contemplate a full de novo resentencing” and “all

original sentencing determinations remain unchanged with the sole exception

of the guideline range that has been amended since the original sentencing.”

United States v. Bravo, 203 F.3d 778, 781 (11th Cir. 2000) (emphasis in original)

(quoting United States v. Cothran, 106 F.3d 1560, 1562 (11th Cir. 1997)).14

Accordingly, any re-sentencing under Section 3582(c)(2) is limited to

consideration of the crack amendment, and not the other contentions raised by

the defendants.




      14
        See also United States v. Whitebird, 55 F.3d 1007, 1011 (5th Cir. 1995) (“A
[Section] 3582(c)(2) motion is not a second opportunity to present mitigating factors to
the sentencing judge, nor is it a challenge to the appropriateness of the original
sentence.”).

                                          41
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 42 of 84 PageID #:784



      Courts have consistently rejected attempts by defendants to raise issues

other than the reduction provided for by the particular retroactive amendment.

In United States v. Smith, 241 F.3d 546, 548 (7th Cir. 2001), the Seventh Circuit

held that the defendant could not raise Apprendi to further reduce his sentence,

which the district court had reduced pursuant to a retroactive amendment. The

Seventh Circuit labeled that claim to be “a new issue, one not authorized by

§ 3582(c), for it is unrelated to any change in the Sentencing Guidelines.” Id.;

see also United States v. Lloyd, 398 F.3d 978, 979-80 (7th Cir. 2005) (claims that

district judge miscalculated relevant conduct, and that the CCE statute was

improperly applied, could only be brought under Section 2255).15 Thus, the

defendants cannot raise other contentions in support of a sentence reduction


      15
          See also United States v. Jordan, 162 F.3d 1 (1st Cir. 1998) (when reducing a
sentence based on a retroactive amendment, the court does not have authority to grant
a departure on any other ground, including Section 5K2.0); Cortorreal v. United States,
486 F.3d 742, 744 (2d Cir. 2007) (Section 3582(c)(2) motion may not be employed to
present claim under Booker); United States v. McBride, 283 F.3d 612, 615 (3d Cir.
2002) (cannot raise Apprendi claim for further reduction under Section 3582(c)(2));
United States v. Carter, 500 F.3d 486, 490-91 (6th Cir. 2007) (Section 3582(c)(2) motion
may only be presented based on a guideline amendment, as the basis of the motion is
distinct from other claims which might affect the sentence, which must be presented,
if at all, under Section 2255); United States v. Price, 438 F.3d 1005, 1007 (10th Cir.
2006) (Section 3582(c)(2) motion may not be employed to present claim under Booker);
United States v. Bravo, 203 F.3d 778, 782 (11th Cir. 2000) (district court was correct
to deny Eighth Amendment claim; “Section 3582(c), under which this sentencing
hearing was held, does not grant to the court jurisdiction to consider extraneous
resentencing issues such as this one. Bravo must instead bring such a collateral attack
on his sentence under 28 U.S.C. § 2255.”); United States v. Moreno, 421 F.3d 1217,
1220 (11th Cir. 2005) (Section 3582(c)(2) motion may not be employed to present claim
under Booker)

                                          42
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 43 of 84 PageID #:785



beyond the 2-level decrease provided for by the crack amendment. Therefore,

the efforts of Tyrone Williams, Edgar Williams, Andre Williams and Maurice

Foster to litigate or relitigate other sentencing issues should be denied.




                                       43
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 44 of 84 PageID #:786



      d.     The court has the discretion to not reduce the
             defendants’ sentences.

      Even in circumstances where a defendant may qualify for a reduction in

sentence pursuant to Amendment 706, the reduction is not automatic. Pursuant

to Section 3582(c)(2) and the applicable policy statements of the Commission, the

court has the discretion not to reduce the sentence of a defendant who may

appear to be eligible for a reduction. In the event that the court disagrees with

the government’s position that the factual findings made during the defendants’

sentencings would preclude relief under Section 706, the government asks that

the court exercise its discretion by not reducing the defendants’ sentences

because of the vast scope of the narcotics conspiracy at issue in this case.

      Section 3582(c)(2) provides that “the court may reduce the term of

imprisonment, after considering the factors set forth in section 3553(a) to the

extent that they are applicable, if such a reduction is consistent with applicable

policy statements issued by the Sentencing Commission.” Thus, even when the

guideline range is actually reduced, whether to reduce the sentence “is a matter

. . . which lies within the peculiar discretion of the district court.” United States

v. Tidwell, 17 F.3d 946, 949 (7th Cir. 1999); see also United States v. Vautier, 144




                                         44
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 45 of 84 PageID #:787



F.3d 756, 760 (11th Cir. 1998) (“[t]he grant of authority to the district court to

reduce a term of imprisonment is unambiguously discretionary”).16

      Subject to the limits set forth in Section 1B1.10(b), to be discussed below,

the Court may consider all pertinent information in applying the Section 3553(a)

factors and determining whether and by how much to reduce the defendant’s

sentence. In particular, the Court must consider public safety considerations,

and may consider information regarding the post-sentencing conduct or situation

of the defendant, whether positive or negative. Revised application note 1(B)(ii)

directs that “[t]he court shall consider the nature and seriousness of the danger

to any person or the community that may be posed by a reduction in the

defendant’s term of imprisonment.” Revised application note 1(B)(iii) further

directs that “[t]he court may consider post-sentencing conduct of the defendant

that occurred after the imposition of the original term of imprisonment.” The

application note explains that these factors are relevant in determining whether

      16
         Similarly, Section 1B1.10 directs that “the court shall consider the factors set
forth in 18 U.S.C. § 3553(a) in determining . . . whether a reduction in the defendant's
term of imprisonment is warranted. Id. appl. n. 1(B)(I); see also U.S.S.G. § 1B1.10
background cmt. (“The authorization of such a discretionary reduction does not
otherwise affect the lawfulness of a previously imposed sentence, does not authorize
a reduction in any other component of the sentence, and does not entitle a defendant
to a reduced term of imprisonment as a matter of right.”). All courts are in accord on
this point. United States v. Whitebird, 55 F.3d 1007, 1010 (5th Cir. 1995) (district court
permissibly declined to reduce sentence); United States v. Ursery, 109 F.3d 1129, 1137
(6th Cir. 1997); United States v. Coohey, 11 F.3d 97, 101 (8th Cir. 1993); United States
v. Wales, 977 F.2d 1323, 1327-28 (9th Cir. 1992); United States v. Mueller, 27 F.3d 494,
497 n.5 (10th Cir. 1994).

                                           45
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 46 of 84 PageID #:788



and by how much to reduce a sentence, but only within the limits set forth in

Section 1B1.10(b).

      As the court may recall, this case involved a 24-hour narcotics market that

operated in and around the 2700 block of W. Flournoy for a period of

approximately four years. GVO at 1. The operation was controlled by the

Travelling Vice Lords street gang who conducted sales of crack cocaine, powder

cocaine and heroin on a 24-hour-a-day basis. Id. In order to continue the

operation undisturbed by the police, the defendants bribed the police with

firearms, crack cocaine and heroin. Id. The court has estimated that the

operation sold “as much as 500 grams a day . . . the average, the average bag of

the exhibits of drug -- of the crack exhibits was .21 grams, and there were 40

packs a day. There were 60 bags in a pack. That's 2400 bags a day times .21 is

504 grams a day. . . This was a large operation catering to a large number of

people selling huge quantities of drugs.” R.1335 at 5-7. As noted above, eight

of the fourteen defendants joining in this motion were convicted of firearms

offenses in connection with their participation in the conspiracy. Clearly, the

narcotics sales, gang activity and firearms activity of this organization must

have held a complete stranglehold on the neighborhood of 2700 W. Flournoy.

These facts alone demonstrate the danger to the community presented by these




                                       46
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 47 of 84 PageID #:789



defendants and would fully justify any decision not to reduce the defendants’s

sentences.

       e.    Any reduction must be strictly limited to the two
             levels provided for in Amendment 706.

       If the court decides to reduce the sentences of these defendants, the extent

of the reduction is strictly limited to the two levels provided for in Amendment

706.   Congress delegated to the Sentencing Commission the authority to

determine to what extent a sentence may be reduced. See 18 U.S.C. § 3582(c)(2);

28 U.S.C. § 994(u). The Commission, in turn, directed in Section 1B1.10(b) that,

with one exception (where the defendant earlier received a below-guideline

sentence, “the court shall not reduce the defendant’s term of imprisonment

under 18 U.S.C. § 3582(c)(2) and this policy statement to a term that is less than

the minimum of the amended guideline range determined under subdivision (1).”

U.S.S.G. § 1B1.10(b)(2)(A). An application note adds: “Under subsection (b)(2),

the amended guideline range determined under subsection (b)(1) and the term

of imprisonment already served by the defendant limit the extent to which the

court may reduce the defendant’s term of imprisonment under 18 U.S.C. §

3582(c)(2) and this policy statement.        Specifically, if the original term of

imprisonment imposed was within the guideline range applicable to the

defendant at the time of sentencing, the court shall not reduce the defendant’s



                                        47
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 48 of 84 PageID #:790



term of imprisonment to a term that is less than the minimum term of

imprisonment provided by the amended guideline range determined under

subsection (b)(1).” U.S.S.G. § 1B1.10 app. note 3.17 Thus, the Court may not

reduce the sentence below the range provided by the amended guideline, and “in

no case . . . shall the term of imprisonment be reduced below time served.”

U.S.S.G. § 1B1.10 app. note 3.

      f.      Booker does not apply to resentencings pursuant
              to Section 3582.

      Baker contends that, consistent with the Ninth Circuit position in United

States v. Hicks, 472 F.3d 1167(9th Cir. 2007), in addition to considering where

within the revised guideline range he should be sentenced, this Court should

conduct a full resentencing, and reexamine the entire sentence consistent with

the Supreme Court’s decision in United States v. Booker, 543 U.S. 220 (2005),

which made the Sentencing Guidelines advisory. That position is incorrect; the

defendant’s claim that Booker applies in this proceeding and permits a reduction




      17
           Application note 3 provides an example of this rule:

      For example, in a case in which: (1) the guideline range applicable to the
      defendant at the time of sentencing was 41 to 51 months; (2) the original term
      of imprisonment imposed was 41 months; and (3) the amended guideline range
      determined under subsection (b)(1) is 30 to 37 months, the court shall not reduce
      the defendant's term of imprisonment to a term less than 30 months.

                                           48
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 49 of 84 PageID #:791



in sentence beyond the limits set by Congress and the Sentencing Commission

is without merit.

      Section 3582(c)(2) allows a court to reduce a sentence based on a

retroactive guideline amendment only as authorized by the Sentencing

Commission, and the Commission has limited the extent of such a reduction to

the application of the amended guideline range or a reduction comparable to the

extent of a previously granted reduction below the earlier guideline range.

      i.    Section 3582(c)(2) limits sentencing reductions
            based on retroactive guidelines to those
            authorized by the Sentencing Commission.

      In 18 U.S.C. § 3582(c)(2), Congress created a “narrow exception to the rule

that final judgments are not to be modified.” United States v. Armstrong, 347

F.3d 905, 909 (11th Cir. 2003). Section 3582(c)(2) permits a sentencing reduction

based on a retroactive guideline only “if such a reduction is consistent with

applicable policy statements issued by the Sentencing Commission.” In the

Sentencing Reform Act, Congress specifically delegated to the Sentencing

Commission the authority to determine when, and to what extent, a sentencing

reduction is allowed. Under 28 U.S.C. § 994(u), when the Commission amends

the guidelines, the Commission “shall specify in what circumstances and by

what amounts the sentences of prisoners serving terms of imprisonment for the

offense may be reduced.” 28 U.S.C. § 994(u). As the Supreme Court has


                                       49
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 50 of 84 PageID #:792



explained, under this provision, “Congress has granted the Commission the

unusual and explicit power to decide whether and to what extent its

amendments reducing sentences will be given retroactive effect.” Braxton v.

United States, 500 U.S. 344, 348 (1991) (citing § 994(u); emphasis omitted).

      Thus, under the express statutory language of Section 3582(c)(2) and

Section 994(u), the Commission’s policy statements that implement the statute’s

authorization of retroactive sentence reductions are binding, just as the

statutory restrictions on reductions below a mandatory minimum are binding.

See United States v. Walsh, 26 F.3d 75, 77 (8th Cir. 1994) (“Congress has made

the policy statements set forth in Section 1B1.10 the applicable law for

determining whether a district court has the authority to reduce a sentence in

this situation.”).

      ii.    The statute and policy statements prohibit a
             reduction below the floor set by the Sentencing
             Commission.

      As explained above, Section 3582(c)(2) does not provide for full

resentencing of defendants. In its recent revision to the policy statement

governing sentencing reductions under Section 3582(c)(2), the Sentencing

Commission made clear that proceedings under the statute “do not constitute a

full resentencing of the defendant.” U.S.S.G.§ 1B1.10(a)(3); see United States v.

Tidwell, 178 F.3d 946, 949 (7th Cir. 1999) (“not a do-over of the original


                                       50
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 51 of 84 PageID #:793



sentencing”); United States v. Bravo, 203 F.3d 778, 781 (11th Cir.) (Section

3582(c)(2) “do[es] not contemplate a full de novo resentencing”) (quotation and

citation omitted); see also United States v. McBride, 283 F.3d 612, 615 (3d Cir.

2002); United States v. Jordan, 162 F.3d 1, 4 (1st Cir. 1998); United States v.

Torres, 99 F.3d 360, 361 (10th Cir. 1996).

      Rather than authorizing a full reexamination of a defendant’s sentence,

the Sentencing Commission has placed explicit limits on the extent of a

sentencing reduction permissible under Section 3582(c)(2). Section 1B1.10(b)(1)

directs that “[i]n determining whether, and to what extent, a reduction in the

defendant’s term of imprisonment under 18 U.S.C. § 3582(c)(2) and this policy

statement is warranted, the court . . . shall substitute only the amendments

listed in subsection (c) for the corresponding guideline provisions that were

applied when the defendant was sentenced and shall leave all other guideline

application decisions unaffected.” U.S.S.G. § 1B1.10(b)(1).

      Section 1B1.10(b)(2) sets out specific limits on the extent of sentencing

reductions, providing that, with one exception, “the court shall not reduce the

defendant’s term of imprisonment under 18 U.S.C. § 3582(c)(2) and this policy

statement to a term that is less than the minimum of the amended guideline

range determined under subdivision (1).” U.S.S.G. § 1B1.10(b)(2)(A). The sole

exception is set forth in Section 1B1.10(b)(2)(B), which provides that if the


                                       51
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 52 of 84 PageID #:794



defendant’s “original term of imprisonment was less than the term of

imprisonment provided by the guideline range applicable to the defendant at the

time of sentencing, a reduction comparably less than the amended guideline

range determined under subdivision (1) may be appropriate.”           U.S.S.G. §

1B1.10(b)(2)(B); see id., appl. n. 3 (if defendant’s original sentence was a

downward departure of 20% below guideline range, reduction to term that is

20% below amended guideline range would be a “comparable reduction”).

      Thus, the Commission, consistent with the authorization provided by

Congress, has set a floor below which a reduced sentence may not fall. In short,

18 U.S.C. § 3582(c)(2) and U.S.S.G. § 1B1.10 are narrow provisions which permit

a limited reduction of sentence, while prohibiting a complete reevaluation of the

sentence. See, e.g., United States v. Hasan, 245 F.3d 682, 685-86 (8th Cir. 2001)

(en banc) (reduction below the amended guideline range is not permitted); Bravo,

203 F.3d at 781 (court was not permitted to “depart downward . . . to an extent

greater than that authorized under Section 3582(c) based on the amended

guideline provision”).

      iii.   Booker did not affect the limits on sentencing
             reductions under Section 3582(c)(2).

      In United States v. Booker, 543 U.S. 220 (2005), the Court held that the

Sixth Amendment, as construed by the Court in Apprendi v. New Jersey, 530



                                       52
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 53 of 84 PageID #:795



U.S. 466 (2000), and Blakely v. Washington, 542 U.S. 296 (2004), applied to the

federal Sentencing Guidelines, under which the sentencing court rather than the

jury found facts that established the mandatory guidelines range. Booker, 543

U.S. at 230-45. The Court remedied that constitutional defect by severing the

statutory provisions that made the guidelines range mandatory, resulting in a

regime in which the Guidelines are advisory, and courts are to consider the

guidelines and the other factors in 18 U.S.C. § 3553(a) in selecting an

appropriate sentence. Id. at 245-68; see Gall v. United States, 128 S. Ct. 586, 594

(2007).

      Nothing in Booker expands the scope of sentencing reductions under

Section 3582(c)(2).18 As an initial matter, even before Booker, the reduced

Guidelines did not set a “maximum,” as that term is understood for Sixth

Amendment purposes, for Section 3582(c) proceedings. Judges were never

required to reduce a sentence. Rather, Section 3582(c)(2) states that a court

“may” reduce the term of imprisonment. Nor, if courts did so, were they required

to reduce a sentence to the full extent permitted by the retroactive guideline

amendment. Instead, judges were to “consider[] the factors set forth in Section


      18
        Any argument that Kimbrough v. United States, 128 S. Ct. 558 (2007) is a
separate basis to reduce the sentence below what § 3582(c)(2) and the Sentencing
Commission authorize is meritless: Kimbrough itself is premised on Booker, and thus
all of the reasons why Booker does not apply to § 3582 motions also prevent
Kimbrough’s application to those motions.

                                        53
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 54 of 84 PageID #:796



3553(a) to the extent that they are applicable” and reduce the sentence “if such

a reduction is consistent with the applicable policy statements issued by the

Sentencing Commission.” 18 U.S.C. 3582(c)(2).            Thus, the Section 3553(a)

factors were always the guiding principle under Section 3582(c)(2), with the

limitation that a reduction must accord with the Commission’s policy

statements, including that the reduction equate to no more than if the

amendment “had . . . been in effect” at the time the defendant was sentenced.

See USSG § 1B1.10(b) (pre-3/3/08); USSG § 1B1.10(b)(1) (eff. 3/3/08).

      Booker had no direct effect on Section 3582(c)(2). Booker’s constitutional

holding applied the now-familiar rule that “[o]ther than the fact of a prior

conviction, any fact that increases the penalty for a crime beyond the prescribed

statutory maximum must be submitted to a jury, and proved beyond a

reasonable doubt.” Booker, 543 U.S. at 231 (quoting Apprendi v. New Jersey, 530

U.S. 466, 490 (2000)). That rule has no application to proceedings under Section

3582(c)(2), which can only decrease – not increase – the defendant’s sentence.19

Moreover, the limits Section 3582(c)(2) and U.S.S.G. § 1B1.10 impose on the

extent of reductions are, at most, the equivalent of mandatory minimum


      19
         This crucial distinction was recognized by the district court in United States
v. Witherspoon, No. 02 CR 491 (N.D. Ill. April 28, 2008) (order attached), which held
that Booker does not apply to § 3582(c) motions. Witherspoon’s reasoning was adopted
in full by United States v. Thomas, – F. Supp.2d –, No. 04 CR 889 (N.D. Ill. July 17,
2008) (opinion attached).

                                          54
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 55 of 84 PageID #:797



sentences, which the Sixth Amendment permits within an otherwise-authorized

sentencing range. See Harris v. United States, 536 U.S. 545 (2002).

      Booker’s remedial holding is likewise inapplicable. Booker applies to full

sentencing hearings – whether in an initial sentencing or in a resentencing

where the original sentence is vacated for error. The Court excised and severed

the provision that made the Guidelines mandatory in those sentencings, 18

U.S.C. § 3553(b). It also excised the related provision on appellate review, 18

U.S.C. § 3742(e).      “With these two sections excised (and statutory

cross-references to the two sections consequently invalidated),” the Court held,

“the remainder of the Act satisfies the Court’s constitutional requirements.” 543

U.S. at 259. Section 3582(c)(2) contains no cross-reference to Section 3553(b)

and therefore was not excised by Booker. Nor is there anything else in Booker

that directly addresses Section 3582 proceedings.

      The Court in Booker applied its advisory guidelines remedy to cases in

which no Sixth Amendment violation existed, concluding that Congress would

not have wanted the Guidelines to be mandatory in some contexts and advisory

in others. 543 U.S. at 266. The Court rested its conclusion on two observations,

neither of which is applicable to reduction proceedings under Section 3582(c)(2).

The first was that Congress would not have wanted to “impose mandatory . . . .

limits on a judge’s ability to reduce sentences,” but not to “impose those limits


                                       55
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 56 of 84 PageID #:798



upon a judge’s ability to increase sentences.” Id. (emphasis in original); see id.

(Congress would not have wanted such “one-way lever[s]”). But Congress clearly

intended Section 3582(c)(2) to be a “one-way lever” – it gives the district court

the option to leave a defendant’s sentence alone or to reduce it, but does not

permit the court to increase the sentence. Second, the Court observed that

rendering the Guidelines partially advisory and partially mandatory in federal

sentencings would engender significant “administrative complexities.”          Id.

Given the limited scope of a proceeding under Section 3582(c)(2), none of the

significant “administrative complexities” is present that led the Supreme Court

to require all guideline provisions to be advisory at full sentencing proceedings.

Booker, 543 U.S. at 266. To the contrary, holding that Booker requires full

resentencings whenever a guideline is made retroactive — in many cases years

after the original sentencing — would create major administrative complexities

and would vastly expand the intended scope of a sentencing reduction under

Section 3582(c)(2).   The remedial opinion of Booker sought to effectuate

Congress’s intent, and Congress would not have intended the results sought by

the defendant.

      Section 3582(c)(2)’s direction that the court “shall consider the factors in

section 3553(a) to the extent that they are applicable” also does not aid the

defendants in this case. Although one of the factors in Section 3553(a) is the


                                       56
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 57 of 84 PageID #:799



Guidelines range, and Booker made that range advisory, the still-valid statutory

language in Section 3582(c)(2) requires courts to consider the Section 3553(a)

factors (including the Guidelines) when determining whether and by how much

to reduce the sentence, “consistent with applicable policy statements issued by

the Sentencing Commission.” The Commission has made clear that courts are

to consider the Section 3553(a) factors in determining whether a reduction is

warranted and “the extent of such reduction, but only within the limits” of

Section 1B1.10. U.S.S.G. § 1B1.10, appl. n. 1(B)(i) (emphasis added).

      In United States v. Hicks, 472 F.3d 1167 (9th Cir. 2007), the Ninth Circuit

concluded that limiting the extent of a Section 3582(c)(2) sentencing reduction

to that prescribed by the Sentencing Commission amounts to a mandatory

application of the Sentencing Guidelines that is prohibited by Booker. For the

reasons stated above, Hicks’ analysis is flawed and should not be followed by this

Court.20   Hicks fails to consider that the context of a Section 3582(c)(2)

proceeding, in which a court may only reduce a sentence or leave it undisturbed,

is markedly different from the determinations under mandatory Guidelines

which could increase a defendant’s sentence – and thus run afoul of the Sixth

Amendment – that were addressed in Booker. Hicks also fails to recognize that


      20
        Hicks was found to be persuasive in United States v. Shelby, USDC No. 95 CR
0069 (N.D. Ill. June 30, 2008) (order attached as Exhibit B). For the reasons stated in
the text, this Court should reject the holding of Hicks.

                                          57
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 58 of 84 PageID #:800



a sentencing reduction under Section 3582(c)(2) is not a full resentencing

proceeding, but a limited mechanism only for reducing a sentence to account for

a retroactive guideline amendment. Likewise, Hicks ignores the fact that

Section 3582(c)(2) incorporates into the statute the limits in Section 1B1.10, and

that those statutory limits are binding on sentencing courts.

      The conclusion that Booker does not apply in proceedings under Section

3582(c)(2) is consistent with the courts of appeals’ unanimous holding that

defendants whose convictions are final have no right to resentencing under

Booker on collateral review under 28 U.S.C. § 2255. See McReynolds v. United

States, 397 F.3d 479, 481 (7th Cir. 2005).21 It would be incongruous if courts

interpreted the congressional scheme in Section 3582(c)(2), which provides for

much more limited relief than Section 2255, provides only for sentence

reductions, and raises no Sixth Amendment concerns, as triggering a full Booker

resentencing.




      21
         See Cirilo-Muñoz v. United States, 404 F.3d 527, 532-33 (1st Cir. 2005);
Guzman v. United States, 404 F.3d 139, 141-44 (2d Cir. 2005); Lloyd v. United States,
407 F.3d 608, 613-16 (2005); United States v. Morris, 429 F.3d 65, 66-67 (4th Cir.
2005); United States v. Gentry, 432 F.3d 600, 602-05 (5th Cir. 2005); Humphress v.
United States, 398 F.3d 855, 860-63 (6th Cir. 2005); Never Misses A Shot v. United
States, 413 F.3d 781, 783-84 (8th Cir. 2005); United States v. Cruz, 423 F.3d 1119, 1121
(9th Cir. 2005); United States v. Bellamy, 411 F.3d 1182, 1188 (10th Cir. 2005); Varela
v. United States, 400 F.3d 864, 867-68 (11th Cir. 2005); In re Fashina, 486 F.3d 1300,
1306 (D.C. Cir. 2007).

                                          58
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 59 of 84 PageID #:801



      Indeed, given that Booker does not apply to the many defendants,

including the defendants currently before this court, whose sentences were final

when Booker was decided, it would be unfair to apply Booker to that subset of

those defendants whose sentences are being lowered under Amendment 706.

Section 3582(c)(2) was designed only to permit courts to reduce defendants’

sentences to account for a retroactive guideline amendment. To grant these

defendants a further reduction that is not afforded to all other similarly situated

defendants would produce the unwarranted sentencing disparities Congress

sought to eliminate in the Sentencing Reform Act. It would also entail enormous

additional cost and effort in resentencing tens of thousands of inmates, even

though Section 3582(c)(2) by its terms does not authorize a full resentencing.

      Accordingly, while this Court should consider the Section 3553(a) factors

in determining whether and to what extent to reduce the sentence, it must abide

by the limitations on sentencing reductions directed by Congress. Booker does

not apply, and there is no authorization for this Court to revisit its earlier

sentencing determinations.

      Should this Court disagree and conclude that Booker is applicable, it

should exercise its discretion not to vary below the amended guideline range.

The Sentencing Commission’s determinations, which always must be considered

in sentencing, see 18 U.S.C. § 3553(a), deserve particular respect in this context,


                                        59
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 60 of 84 PageID #:802



where Congress specifically delegated to the Commission the authority to amend

the Guidelines, and to “specify in what circumstances and by what amounts the

sentences of prisoners serving terms of imprisonment for the offense may be

reduced.” 28 U.S.C. § 994(u). It is appropriate to abide by these restrictions,

given that the Commission has properly determined that Section 3582(c)(2)’s

exception to the general rule of finality in criminal litigation should extend only

to application of the newly amended guideline, not to relitigation of other aspects

of the sentence.    See U.S.S.G. § 1B1.10(a)(3) (proceedings under Section

3582(c)(2) “do not constitute a full resentencing of the defendant”). Adherence

to the limits imposed by the Commission will also avoid disparity in sentencing

among similarly situated defendants. See 18 U.S.C. § 3553(a)(6). And it will

avoid substantial unfairness to countless defendants who may not gain

reconsideration of their final sentences because they did not enjoy the fortuity

of having a retroactive guideline amendment applied to one aspect of their

sentences.

      g.     This court may not reduce Baker’s sentence
             below the amended guideline level as a result of
             his health issues , his role in the offense or his
             cooperation.

      In addition to a reduction in sentence based on Amendment 706, Durwin

Baker seeks further leniency based on his heart condition, his alleged minimal



                                        60
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 61 of 84 PageID #:803



role in the offense, and his cooperation. First, Baker has already received a

reduction in his offense level as a result of minor participation, R. 1505-2 at 7,

and is not entitled to a second reduction on that basis. Concerning the other

issues, while the court may consider this information in determining whether

and by how much to reduce the defendant’s sentence, the court is barred from

reducing the sentence, for any reason, below the bottom of the revised guideline

range. Just as Booker is inapplicable, and does not allow a sentencing reduction

below the limit set by Congress and the Sentencing Commission, a court may not

depart or otherwise reduce a sentence below the statutory limits based on the

facts put forward by Baker.

      As stated throughout this memorandum, the Court’s power to reduce a

sentence based on a retroactive guideline amendment is strictly limited. “[A]

motion to modify an otherwise final judgment pursuant to § 3582(c)(2) is a

limited and narrow exception to the rule that final judgments are not to be

modified . . . .” United States v. Armstrong, 347 F.3d 905, 908-09 (11th Cir.

2003). Congress has delegated to the Sentencing Commission the authority to

determine when and to what extent a sentenced prisoner’s term of incarceration

may be reduced based on a change in the Sentencing Guidelines.               The

Commission, in turn, has authorized the retroactive application of only a handful

of the hundreds of guideline amendments adopted since 1987, and clearly


                                       61
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 62 of 84 PageID #:804



articulated the extent of permissible reductions. Specifically, the Commission

has directed that “[i]n determining whether, and to what extent, a reduction in

the defendant’s term of imprisonment under 18 U.S.C. § 3582(c)(2) and this

policy statement is warranted, the court shall determine the amended guideline

range that would have been applicable to the defendant if the amendment(s) to

the guidelines listed in subsection (c) had been in effect at the time the

defendant was sentenced. In making such a determination, the court shall

substitute only the amendments listed in subsection (c) for the corresponding

guideline provisions that were applied when the defendant was sentenced and

shall leave all other guideline application decisions unaffected.” U.S.S.G. §

1B1.10(b)(1).

      The Commission further directed that “the court shall not reduce the

defendant’s term of imprisonment under 18 U.S.C. § 3582(c)(2) and this policy

statement to a term that is less than the minimum of the amended guideline

range determined under subdivision (1).” U.S.S.G. § 1B1.10(b)(2). As it explains

in the Commentary, “[u]nder subsection (b)(2), the amended guideline range

determined under subsection (b)(1) and the term of imprisonment already served

by the defendant limit the extent to which an eligible defendant’s sentence may

be reduced under 18 U.S.C. § 3582(c)(2).” U.S.S.G. § 1B1.10 app. note 3. Thus,

the Commission, consistent with the authorization provided by Congress, has set


                                       62
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 63 of 84 PageID #:805



a floor below which a reduced sentence may not fall.          In short, Sections

3582(c)(2) and 1B1.10 are narrow provisions which permit a limited reduction

of sentence, and do not allow a complete reexamination of the sentence, nor

afford a windfall to the limited number of defendants to whom the opportunity

for reduction of sentence is afforded.

      Agreeing with this analysis, the en banc court in United States v. Hasan,

245 F.3d 682 (8th Cir. 2001), held that the district court erred in a Section

3582(c)(2) proceeding by affording an eight-level reduction based on post-

sentencing rehabilitation, concluding that the “downward departure below the

new Guidelines range on the basis of post-sentencing rehabilitation was not

authorized by the terms of either the statute or the Guidelines.” Id. at 685. The

court explained:

      The language of the statute, 18 U.S.C. § 3582(c)(2), is clear. The factors
      set forth in § 3553(a) and the applicable policy statements are to be
      considered only when making the decision whether to reduce a term of
      imprisonment as a result of the Sentencing Commission’s lowering of the
      sentencing range. The statute does not say that the court may reduce the
      term of imprisonment below the amended sentencing range or that the
      § 3553(a) factors or the applicable policy statements should be considered
      for such an additional reduction.

Id. at 686. The court further observed the limitations imposed by the Sentencing

Commission, which preclude a sentencing reduction below the amended




                                         63
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 64 of 84 PageID #:806



guideline range (or below the range which takes into account a downward

departure comparable to that afforded at the first hearing). Id.

      It goes without saying that Ms. Hasan did not and could not have received
      a downward departure at her original sentencing for post-sentencing
      in-prison good conduct. The departure granted by the district court to Ms.
      Hasan at her resentencing is not consistent with the applicable policy
      statement (§ 1B1.10) issued by the Sentencing Commission to govern §
      3582(c)(2) resentencings, and therefore runs afoul of § 3582(c)(2) itself
      which requires action “consistent with applicable policy statements issued
      by the Sentencing Commission.”

Id. (emphasis in original). All other courts to address the issue are in agreement

that post-sentencing conduct or other circumstances may not be considered at

a Section 3582(c)(2) proceeding as a basis for reducing a sentence below an

amended guideline range. See, e.g., United States v. Rodriguez-Pena, 470 F.3d

431, 433 (1st Cir. 2006); United States v. Bravo, 203 F.3d 778, 781 (11th Cir.

2000) (rejecting further departure based on defendant’s current ill health,

stating: “A district court’s discretion has, therefore, clearly been cabined in the

context of a Section 3582(c) sentencing reconsideration. In light of this limit, we

find that the district court was correct in holding that it lacked jurisdiction to

depart downward because of Bravo’s medical condition to an extent greater than

that authorized under Section 3582(c) based on the amended guideline

provision.”). See also Quesada Mosquera v. United States, 243 F.3d 685, 686 (2d




                                        64
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 65 of 84 PageID #:807



Cir. 2001) (per curiam) (affirming denial of Section 3582(c)(2) motion which was

based on rehabilitation alone).

      For all of these reasons, Baker’s request for reduction of his sentence

below the amended guideline range should be denied.




                                       65
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 66 of 84 PageID #:808




                               CONCLUSION

     WHEREFORE, the government respectfully requests that the defendants’

Section 3582 motions be denied, or in the alternative, that any reduction be

limited to the two levels contemplated in Amendment 706.


                                            Respectfully submitted,


                                            PATRICK J. FITZGERALD
                                            United States Attorney


                                     By:    /s/ Madeleine S. Murphy
                                            MADELEINE S. MURPHY
                                            Assistant United States Attorney
                                            219 S. Dearborn Street
                                            Chicago, Illinois 60604
                                            (312) 886-2070




                                       66
Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 67 of 84 PageID #:809




                           EXHIBIT A




                                      67
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 68 of 84 PageID #:810



Defendant          Narcotics   Firearms           Offense            Crim.
                   Sentence    Sentence           Level              History


Baker, Durwin+     195         60***              35                 II

Clark, Terry*      240         60***              38                 III

Conner, Willie     235         60***              38                 I

Foster, Maurice    360                            40                 IV

Hubbard,
Gregory+           295         60***              38                 I

Patterson,
Andrew+            life        120***             42                 II
                               120****

Patterson,
Andrew L.          310                            40                 I

Patterson,
Henry+             340         60***              41                 I

Patterson,
Jerry+             240         60***              38                 I

Patterson,
Lennell+           210                            37                 I

Sumrell,
Odell+             360                            40                 III

**Williams,
Andre+             360         120***             41                 VI
                               120****

Williams,
Edgar+             235                            38                 I

**Williams,
Tyrone             360                            41                 VI

+      Convicted on both Counts 1 and 2
*      Subject to 20 year mandatory minimum
**     Career Offender
***    Consecutive firearms sentence
****   Concurrent firearms sentence

                                         68
Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 69 of 84 PageID #:811




                           EXHIBIT B




                                      69
Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 70 of 84 PageID #:812




                                      70
 Case:Case
       1:95-cr-00242  Document
            1:95-cr-00069      #: 177492
                           Document    Filed: Filed
                                              08/06/08  Page 71 ofPage
                                                    06/30/2008     84 PageID
                                                                       1 of 13#:813



                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


UNITED STATES OF AMERICA,                    )
                                             )
                          Plaintiff,         )
                                             )
      vs.                                    )            95 CR 69
                                             )
GREGORY SHELBY,                              )
                                             )
                          Defendant.         )


                          MEMORANDUM OPINION

CHARLES P. KOCORAS, District Judge:

      On December 12, 1995, Gregory Shelby pled guilty to both counts of a

superceding indictment without a plea agreement. Count One charged Shelby with

knowingly and intentionally possessing with an intent to distribute approximately 497

grams of mixtures containing cocaine and approximately 120 grams of mixtures

containing cocaine base (crack cocaine). Count Two charged Shelby with carrying and

using a firearm during and in relation to the commission of a drug trafficking crime.

Both crimes were charged as having been committed on or about January 14, 1993, a

date when Shelby was 23 years old. Count One carried a minimum mandatory

sentence of 10 years and Count Two carried a mandatory term of 5 years consecutive

to any other sentences imposed.
 Case:Case
       1:95-cr-00242  Document
            1:95-cr-00069      #: 177492
                           Document    Filed: Filed
                                              08/06/08  Page 72 ofPage
                                                    06/30/2008     84 PageID
                                                                       2 of 13#:814



      The Presentence Investigation Report reflected Guideline calculations based on

a total offense level of 32 and a criminal history category of I; the Guideline range for

Count One was 121 to 151 months with Count Two at 60 months. At the sentencing

hearing, the Court increased Shelby’s total offense level to 38 based upon additional

drug quantities constituting relevant conduct. The reconfigured Guideline range for

Count One was 235 to 293 months’ imprisonment to be followed by Count Two’s

mandatory sentence of 60 months. The court sentenced Shelby to 235 months on

Count One and 60 months on Count Two, for a total period of incarceration of 295

months—approximately 24 ½ years.

      At the time his sentence was imposed on March 7, 1996, Shelby was 26 years

old. He has now been imprisoned for approximately 13 years. His conviction and

sentence were affirmed in United States v. Shelby, 121 F.3d 1118, 1122 (7 Cir. 1997).

Shelby is back before this Court on two motions, one filed by the government and one

filed on Shelby’s behalf by his counsel. The government’s Rule 35 Motion for

Reduction of Sentence is based on Shelby’s rendering of substantial assistance to the

government in its investigation and prosecution of a number of other individuals about

whom Shelby had knowledge.          Shelby’s motion is based on the premise that

Amendment 706 to the federal Sentencing Guidelines, made retroactive by Amendment




                                          -2-
 Case:Case
       1:95-cr-00242  Document
            1:95-cr-00069      #: 177492
                           Document    Filed: Filed
                                              08/06/08  Page 73 ofPage
                                                    06/30/2008     84 PageID
                                                                       3 of 13#:815



711 and affecting the crack cocaine Guideline, reduces the base offense level in this

case.

        At the time of Shelby’s sentencing, the Sentencing Guidelines were mandatory

and the 100-to-1 powder cocaine to crack cocaine sentencing disparity was embedded

within them. The crack/powder disparity was a product of Congress’s establishment

of minimum mandatory sentences that were set purely on the weight and type of drugs

involved. Contrary to pre-Guideline sentencing practices, which required sentencing

judges to consider and evaluate a number of criteria before imposing a sentence, the

Sentencing Commission adopted a drug-weight-driven scheme using the minimum

mandatory incarceration provisions set by Congress as a point of departure. With

punishment increasing in lockstep with the weight and type of drugs involved, the

comprehensive sentencing considerations of 18 U.S.C.§ 3553(a), some of which are

favorable to a defendant, were essentially rendered unavailable for most drug cases in

light of the provisions of § 3553(b).

        The mandatory aspect of subsection (b)(1) of § 3553 was held unconstitutional

in United States v. Booker, 543 U.S. 220, 245, 125 S. Ct. 738, 756-57 (2005). In

addition to Booker, the Supreme Court has discussed sentencing practices in two other

important recent cases, Kimbrough v. United States, 128 S. Ct. 558 (2007) and Gall v.

United States, 128 S. Ct. 586 (2007). Another legal upheaval of a different sort was


                                         -3-
 Case:Case
       1:95-cr-00242  Document
            1:95-cr-00069      #: 177492
                           Document    Filed: Filed
                                              08/06/08  Page 74 ofPage
                                                    06/30/2008     84 PageID
                                                                       4 of 13#:816



the action of the United States Sentencing Commission in reducing certain crack

cocaine offense levels and making the reductions retroactive. The net effect of the

Supreme Court action is to vest greater discretion in federal sentencing courts with the

long-established Guidelines playing an advisory role. The action of the Sentencing

Commission serves to narrow somewhat the differential in punishments for crack

cocaine when compared to powder cocaine.

       Notwithstanding the described sea change in federal sentencing law, there yet

remain a number of open issues in this case. Foremost among them is the extent to

which, if at all, this court is empowered to fully consider all of the factors of 18 U.S.C.

3553(a) by virtue of either or both pending motions. Another issue to be resolved is

the extent to which this court is constrained to the ratio the Sentencing Commission has

chosen for crack and powder cocaine offenses. A third issue is whether other

sentencing factors besides Shelby’s conduct in rendering substantial assistance to the

government can be considered within the confines of the government’s Rule 35

motion.

       The vehicle for consideration of Shelby’s motion for a reduction in his sentence

is 18 U.S.C. § 3582(c)(2), dealing with lowering of a sentencing range by action of the

Sentencing Commission. Section 3582 itself states that the court “may reduce the term

of imprisonment, after considering the factors set forth in section 3553(a) to the extent


                                           -4-
 Case:Case
       1:95-cr-00242  Document
            1:95-cr-00069      #: 177492
                           Document    Filed: Filed
                                              08/06/08  Page 75 ofPage
                                                    06/30/2008     84 PageID
                                                                       5 of 13#:817



that they are applicable, if such a reduction is consistent with applicable policy

statements issued by the Sentencing Commission.” The case of United States v. Hicks,

472 F.3d 1167 (9th Cir. 2007), directly addressed the effect of Booker on the policy

statements contained as part of the Sentencing Guidelines.

      In holding that a mandatory system is no longer an open choice, to the extent

that policy statements would have the effect of making the Guidelines mandatory,

Booker established that they must be void. Id. at 1170. Booker emphasized that the

Guidelines could not be construed as mandatory in one context and advisory in

another. 543 U.S. at 266, 125 S. Ct. at 768. As a consequence, district courts are

necessarily endowed with the discretion to employ the § 3553 factors when issuing

new sentences under § 3582(c)(2). The ease and simplicity of mandatory calculations

can no longer stand as a substitute for the evaluation of relevant factors necessary to

a determination of just punishment. See Hicks, 472 F.3d at 1170.

      We recognize that there are a number of decisions and opinions contrary to the

decision in Hicks. There is presently no Seventh Circuit case on point. However,

based on the teaching of Booker and the reasoning of Hicks, we believe the better view

is that policy statements, like the substantive Guideline provisions, are advisory only

and do not preclude consideration of all of the sentencing factors of § 3553(a) in this

case. As a result, Shelby’s motion itself affords a basis for de novo review and


                                         -5-
 Case:Case
       1:95-cr-00242  Document
            1:95-cr-00069      #: 177492
                           Document    Filed: Filed
                                              08/06/08  Page 76 ofPage
                                                    06/30/2008     84 PageID
                                                                       6 of 13#:818



imposition of a sentence that is not constrained by Commission policy statements or

the ratio it chose for crack and powder cocaine offenses.

      The third issue described above is whether sentencing factors other than the

defendant’s conduct in rendering substantial assistance to the government can be

considered within the confines of the government’s Rule 35 motion. Although it is not

essential to decide this issue in view of our belief that Shelby’s own motion is the

springboard to evaluate all of the § 3553(a) sentencing factors, we believe it is

appropriate to do so. In this instance, we believe there is recent precedent from the

Court of Appeals for the Seventh Circuit that affords an independent basis to consider

the full § 3553(a) sentencing factors for Shelby even though the government’s motion

is confined to Shelby’s substantial assistance to the government. In the quite recent

case of United States v. Bush, 523 F.3d 727 (7 Cir. 2008), the Seventh Circuit reviewed

a plea bargain between defendant Bush and the government. In return for Bush’s plea

of guilty to a drug distribution count and his substantial assistance to the government,

the government agreed to move for a two-level reduction in the calculation of the drug

Guideline and dismissal of a firearms count. The government so moved the court and,

in addition, dismissed an § 851 information that increased Bush’s mandatory minimum

sentence to 20 years’ imprisonment and further moved to release Bush from the normal

mandatory minimum sentence of 10 years. The court granted the government’s motion


                                         -6-
 Case:Case
       1:95-cr-00242  Document
            1:95-cr-00069      #: 177492
                           Document    Filed: Filed
                                              08/06/08  Page 77 ofPage
                                                    06/30/2008     84 PageID
                                                                       7 of 13#:819



in its entirety, producing a sentencing range of 100 to 125 months’ imprisonment based

on a criminal history category of IV. Not simply content that the government more than

lived up to its part of the plea agreement, defendant Bush insisted that his sentence

should be reduced still further, to 63 months, based on his perceived unfairness of the

100:1 crack/powder ratio. The district court declined Bush’s request and sentenced him

to 96 months’ imprisonment. After the Seventh Circuit heard arguments in the Bush

case but before it decided the appeal, the Supreme Court issued its decision in

Kimbrough.

       The Seventh Circuit ordered supplemental briefing in Bush in light of

Kimbrough. Determining that Kimbrough clarified that Congress did not mandate the

100:1 ratio to all crack offenses and that a court may reduce a defendant’s sentence

below the Guidelines range in a routine crack-related case if it is convinced that the ratio

alone unfairly punishes the defendant, the Seventh Circuit remanded the case for

resentencing. The twofold significance of the Bush decision is that the Seventh Circuit

allowed consideration of sentencing factors not related to substantial assistance in a

motion filed by the government for that sole reason and that Kimbrough permitted de

novo review of a drug sentence unconstrained by a 100:1 or any other crack/powder

ratio. Aside from timing differences in the filing of the government’s motion in Bush

(pre-sentence) as opposed to the Rule 35 motion in the instant case (post-sentence), the


                                           -7-
 Case:Case
       1:95-cr-00242  Document
            1:95-cr-00069      #: 177492
                           Document    Filed: Filed
                                              08/06/08  Page 78 ofPage
                                                    06/30/2008     84 PageID
                                                                       8 of 13#:820



two motions are the same. Accordingly, we believe the government’s motion in this

case affords this court the ability to consider all of the sentencing factors set forth in 18

U.S.C. § 3553.

       In writing for the Supreme Court in Kimbrough, Justice Ginsburg said that in the

ordinary case, the Sentencing Commission’s recommendation of a sentencing range will

reflect a rough approximation of sentences that might achieve § 3553(a)’s objectives.

But the crack cocaine Guidelines presented no elaborative discussion of the level of

review for an outside the heartland sentence for two reasons. Kimbrough describes the

Sentencing Commission’s departure from its empirical approach in formulating the

crack Guidelines. The Commission had offered criticism of the crack/powder ratio and

recommended changes to the ratios to Congress in 1997 and again in 2002. These two

Commission reports followed Congress’s rejection of an amendment in 1995

establishing a 1:1 ratio. The continued criticisms by the Commission of the crack

Guidelines was based on its research and experience with the 100:1 ratio and was multi-

faceted. The empirical studies the Sentencing Commission engaged in were rejected

by Congress, thereby producing Guidelines driven by the minimum mandatory

sentences set by Congress, which the Sentencing Commission believed to be excessive.

       In Kimbrough, the government acknowledged that the Guidelines are now

advisory and that, as a general matter, courts may vary from Guideline ranges based


                                            -8-
 Case:Case
       1:95-cr-00242  Document
            1:95-cr-00069      #: 177492
                           Document    Filed: Filed
                                              08/06/08  Page 79 ofPage
                                                    06/30/2008     84 PageID
                                                                       9 of 13#:821



solely on policy considerations, including disagreements with the Guidelines. A district

court may consider arguments that the Guideline sentence itself fails properly to reflect

§ 3553 (a) considerations.     In the ordinary case, the Sentencing Commission’s

recommendation of a sentencing range “will reflect a rough approximation of sentences

that might achieve § 3553(a)’s objectives.” Rita v. United States, 127 S. Ct. 2456,

2464-65 (2007). The sentencing judge, on the other hand, is in a superior position to

apply the statutory factors to the circumstances of a particular defendant and impose a

sentence consistent with the facts and law.

      It seems plain that, aside from mandatory sentences set by Congress, federal

district judges are free to consider the full panoply of sentencing considerations

expressed in 18 U.S.C. § 3553(a) and to differ from the Guidelines when the judicious

application of discretion requires it. Kimbrough teaches that, and reason and fairness

permit no alternative.

      The statutory provisions of 18 U.S.C. § 3553 are what command the process of

sentence determinations. This Court has had the benefit of detailed written submissions

from counsel and others, in addition to holding two hearings for the purpose of ruling

on the motions before the Court. The advocacy for both sides has been excellent, and

the relevant sentencing criteria have been fully discussed and argued. The original

sentencing hearing held on March 7, 1996, reflected the court’s view that Gregory


                                          -9-
 Case:Case
       1:95-cr-00242 Document
           1:95-cr-00069      #: 177492
                          Document    Filed:Filed
                                             08/06/08 Page 80 of
                                                  06/30/2008     84 PageID
                                                              Page  10 of 13#:822



Shelby was a drug dealer and gang member and that he had committed serious drug

crimes. The court told Shelby that he deserved to be punished severely but added the

following: “But the sentence you are facing at your age, if I were free to sentence you,

I would not give you this high of a sentence. You deserve to be punished severely. The

Guideline calculations and the gun count take us well past what might be necessary,

both to punish you and to provide some measure of deterrence and to vindicate these

laws, but I do not have that freedom, Mr. Shelby, and I do not know what else to tell

you to make it easier.” Tr. 3/7/96, pp. 157-58.

      At the age of 26, Shelby was committed to spend the next 24 ½ years of his life

in a federal prison. He has served a little better than half of his sentence at this point.

As previously stated, the sentence imposed was mandated by the Sentencing Guidelines

and its structure predicated on minimum mandatory statutory provisions and the

consecutive sentence for the firearm conviction. As is also readily apparent from a

reading of the sentencing hearing transcript, had the Guidelines been advisory rather

than mandatory, Shelby’s sentence would not have been so severe.

      The passage of more than thirteen years has seen more than changes in federal

sentencing law. Changes in people have also occurred. We have seen such changes in

Shelby. At the time of his sentencing, Shelby offered the court lies about the nature and

extent of his drug dealing and declined to supply information about any of his


                                          - 10 -
 Case:Case
       1:95-cr-00242 Document
           1:95-cr-00069      #: 177492
                          Document    Filed:Filed
                                             08/06/08 Page 81 of
                                                  06/30/2008     84 PageID
                                                              Page  11 of 13#:823



accomplices. While in prison, he undertook to assist the government by telling them

what he knew, even as the effort exposed him and members of his family to a risk of

great harm. It was the successful assumption of that risk that has prompted the

government to file its motion to reduce Shelby’s sentence, although not to the extent

sought by Shelby.

      Other changes have also occurred. While in prison, Shelby earned his GED

certificate and took other educational courses available to him. His mother died of

breast cancer at 55, and Shelby was unable to offer his comfort or support in her dying

days. His lament, expressed before the Court, appeared genuine. When he was 23, he

got into the selling of drugs, in part because gang members romanticized the experience

and what doing so could or would bring him. The “streets grabbed him,” and he went

willingly. Serving thirteen plus years has taught him the emptiness of the gang

members’ enticements.

      To their credit, and to Shelby’s, his family has never abandoned him and their

regular court attendance is worthy of note. Unlike many others similarly situated,

Shelby has been promised a job in a family business, and there is no basis to doubt his

expressed desire to prove he can be a productive citizen.

      That Shelby committed serious crimes is beyond rational dispute. That the

statutorily mandated sentences for the drug violation of (at least) 10 years with an


                                        - 11 -
  Case:Case
        1:95-cr-00242 Document
            1:95-cr-00069      #: 177492
                           Document    Filed:Filed
                                              08/06/08 Page 82 of
                                                   06/30/2008     84 PageID
                                                               Page  12 of 13#:824



additional 5 years for his related gun violation represent substantial punishment for his

crimes is equally apparent. A prison sentence of 15 years for Shelby adequately reflects

the seriousness of his offenses, promotes respect for the law, and provides just

punishment. Additionally, it affords adequate deterrence to future criminal conduct not

only for Shelby but also for those who may think about the consequences of like

criminal acts.

       For Shelby, a sentence of that length will afford him the opportunity to salvage

the rest of his life as a free man and to pursue available educational or vocational

training that may be appropriate. The Court has struggled to find a justification for

lengthening Shelby’s sentence beyond 15 years—whether to 18 or 20 years or more

—and is simply unable to do so. While nobody other than Shelby can guarantee his

future as a productive, law-abiding citizen, any humane system of crime and punishment

should afford—at least for non-capital cases—the opportunity for rehabilitation and

redemption if the sentencing considerations of 18 U.S.C. § 3553 are to be honored and

satisfied.

       The discussions, observations, and reasons addressed by the court at the hearing

on April 23, 2008, are hereby incorporated into and form a part of the basis for the

court’s decision.




                                         - 12 -
 Case:Case
       1:95-cr-00242 Document
           1:95-cr-00069      #: 177492
                          Document    Filed:Filed
                                             08/06/08 Page 83 of
                                                  06/30/2008     84 PageID
                                                              Page  13 of 13#:825



      In conclusion, both motions before the court are granted. It appears both futile

and unnecessary to compartmentalize which motion should bear what particular portion

of the sentencing reduction ordered today. In the end, both motions can operate

independently to produce the result reached. Shelby’s sentence on Count One shall be

10 years and his sentence on Count Two shall be 5 years, for a total sentence of 15 years

in the custody of the Bureau of Prisons. We will leave it to the Bureau of Prisons to

calculate his release date as soon as possible in light of the service of a substantial

portion of that sentence. The period of supervised release and the fine and other

conditions imposed at the March 7, 1996 hearing are reimposed.

      It is so ordered.




                                        Charles P. Kocoras
                                        United States District Judge

Dated:   June 30, 2008




                                         - 13 -
 Case: 1:95-cr-00242 Document #: 1774 Filed: 08/06/08 Page 84 of 84 PageID #:826



                         CERTIFICATE OF SERVICE

      The undersigned Assistant United States Attorney hereby certifies that
in accordance with Fed. R. Crim. P. 49, Fed. R. Civ. P. 5, LR5.5, and the General
Order on Electronic Case Filing (ECF), the aforenamed document was served
pursuant to the district court's ECF system as to ECF filers on August 6, 2008.

                                            _/s/___Madeleine S. Murphy
                                            MADELEINE S. MURPHY
                                            Assistant United States Attorney
                                            219 South Dearborn Street - 5000
                                            Chicago, Illinois 60604
                                            (312) 886-2070




                                       71
